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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                        Chapter you are filing under:
                                                                                  Chapter 7

                                                                                  Chapter 11
                                                                                  Chapter 12
                                                                                  Chapter 13                                       Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Bruce
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Steven
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Frank
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-7594
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
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Debtor 1   Bruce Steven Frank                                                                         Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 392 Eagle Dr
                                 Jupiter, FL 33477-4066
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Palm Beach
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
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Debtor 1    Bruce Steven Frank                                                                            Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7

                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor      Frank Entertainment Companies, LLC                           Relationship to you        member
                                                          Southern District of
                                              District    Florida                       When     8/17/18               Case number, if known      18-20023-EPK
                                              Debtor      See Attachment                                               Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Bruce Steven Frank                                                                             Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11                   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).               No.
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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Debtor 1    Bruce Steven Frank                                                                         Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1    Bruce Steven Frank                                                                            Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    be worth?                                                                        $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Bruce Steven Frank
                                 Bruce Steven Frank                                                Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     April 26, 2019                                    Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Bruce Steven Frank                                                                             Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Zach B. Shelomith                                              Date         April 26, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Zach B. Shelomith 0122548
                                Printed name

                                Leiderman Shelomith Alexander + Somodevilla, PLLC
                                Firm name

                                2699 Stirling Rd # C401
                                Fort Lauderdale, FL 33312
                                Number, Street, City, State & ZIP Code

                                Contact phone     (954) 920-5355                             Email address         zbs@lsaslaw.com
                                0122548 FL
                                Bar number & State




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Debtor 1         Bruce Steven Frank                                                                     Case number (if known)


Fill in this information to identify your case:

Debtor 1               Bruce Steven Frank
                       First Name                 Middle Name               Last Name

Debtor 2
(Spouse if, filing)    First Name                 Middle Name               Last Name


United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF FLORIDA

Case number
(if known)                                                                                                                       Check if this is an
                                                                                                                                 amended filing


                                                           FORM 101. VOLUNTARY PETITION

                                                        Pending Bankruptcy Cases Attachment



Debtor         Frank Entertainment Companies, LLC                                       Relationship to you               member
District       Southern District of Florida               When    8/17/18               Case number, if known             18-20023-EPK
Debtor         Frank Investments, Inc.                                                  Relationship to you               shareholder
District       Southern District of Florida               When    8/17/18               Case number, if known             18-20019-EPK
Debtor         Frank Investments, Inc.                                                  Relationship to you               shareholder
District       Southern District of Florida               When    1/31/19               Case number, if known             19-11454-EPK
Debtor         Frank Theatres Management, LLC                                           Relationship to you               member
District       Southern District of Florida               When    8/17/18               Case number, if known             18-20022-EPK
Debtor         Rio Mall, LLC                                                            Relationship to you               member
District       Southern District of Florida               When    6/28/18               Case number, if known             18-17840-EPK




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                               page 8
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 Fill in this information to identify your case:

 Debtor 1                     Bruce Steven Frank
                              First Name                    Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                     Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                                     Check if this is an
                                                                                                                                                amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                               Unsecured claim
 1                                                                   What is the nature of the claim?              unpaid Final                $ $336,000.00
                                                                                                                   Judgment After
                                                                                                                   Default
              35 Oak US 5, Inc.
              48 E Flagler St PH # 104                               As of the date you file, the claim is: Check all that apply
              Miami, FL 33131                                                Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $


 2                                                                   What is the nature of the claim?              unpaid Notice of            $ $1,000,116.74
                                                                                                                   Judgment
              Ajax Metal Building Master
              Tenant LP                                              As of the date you file, the claim is: Check all that apply
              114 Chestnut St                                                Contingent
              5th Floor                                                      Unliquidated
              Philadelphia, PA 19106                                         Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No

B104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                          Page 1

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 Debtor 1          Bruce Steven Frank                                                               Case number (if known)

            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 3                                                                   What is the nature of the claim?              personal guaranty of        $ $168,287.00
                                                                                                                   lease in which Frank
                                                                                                                   Theatres Victory, LLC
                                                                                                                   is the principal debtor
            Brixmor Victory Square, LLC
            450 Lexington Ave                                        As of the date you file, the claim is: Check all that apply
            13th Floor                                                       Contingent
            New York, NY 10017                                                Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 4                                                                   What is the nature of the claim?              personal guaranty of        $ $2,101,175.58
                                                                                                                   loan in which Frank
                                                                                                                   Investments, Inc. is
                                                                                                                   the principal debtor
            Centennial Bank
            719 Harkrider St                                         As of the date you file, the claim is: Check all that apply
            POB 966                                                          Contingent
            Conway, AR 72032                                                 Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 5                                                                   What is the nature of the claim?              personal guaranty of        $ $1,463,222.30
                                                                                                                   lease in which
                                                                                                                   Revolutions at Penn
                                                                                                                   Treaty, LLC is the
                                                                                                                   principal debtor
            Core Equity II, L.P.
            114 Chestnut St                                          As of the date you file, the claim is: Check all that apply
            5th Floor                                                        Contingent
            Philadelphia, PA 19106                                            Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 2

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 Debtor 1          Bruce Steven Frank                                                               Case number (if known)

                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 6                                                                   What is the nature of the claim?              Proposed Employer           $ $311,580.00
                                                                                                                   Shared Responsibility
                                                                                                                   Payment
            Department of the Treasury
            Internal Revenue Service                                 As of the date you file, the claim is: Check all that apply
            POB 7346                                                         Contingent
            Philadelphia, PA 19101-7346                                      Unliquidated
                                                                             Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 7                                                                   What is the nature of the claim?              unpaid Statement for        $ $390,000.00
                                                                                                                   Judgment
            Destiny USA Holdings, LLC
            4 Clinton Square                                         As of the date you file, the claim is: Check all that apply
            Syracuse, NY 13202-1078                                          Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 8                                                                   What is the nature of the claim?              personal guaranty of    $ $9,800,000.00
                                                                                                                   loan in which Rio Mall,
                                                                                                                   LLC is the principal
                                                                                                                   debtor
            Investors Bank
            101 JFK Pkwy                                             As of the date you file, the claim is: Check all that apply
            Short Hills, NJ 07078                                            Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 9                                                                   What is the nature of the claim?              unpaid Consent              $ $3,119,500.44
                                                                                                                   Judgment

B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 3

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 Debtor 1          Bruce Steven Frank                                                               Case number (if known)

            Investors Bank
            101 JFK Pkwy                                             As of the date you file, the claim is: Check all that apply
            Short Hills, NJ 07078                                            Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 10                                                                  What is the nature of the claim?              alleged personal             $ $1,886,366.28
                                                                                                                   guaranty of lease in
                                                                                                                   which Frank Theatres
                                                                                                                   Kingsport, LLC is the
                                                                                                                   principal debtor
            Kingsport Mall, LLC
            c/o R. Lee McVey II, Esq.                                As of the date you file, the claim is: Check all that apply
            108 E Main St # 208                                              Contingent
            Kingsport, TN 37660                                               Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 11                                                                  What is the nature of the claim?              392 Eagle Dr Jupiter,    $ $1,090,012.16
                                                                                                                   FL 33477-4066 Palm
                                                                                                                   Beach County
                                                                                                                   (Homestead Real
                                                                                                                   Property)
                                                                                                                   (The value listed is the
                                                                                                                   2018 market value
                                                                                                                   listed on the Palm
                                                                                                                   Beach
            Larsen Capital, LLC
            638 E Atlantic Ave                                       As of the date you file, the claim is: Check all that apply
            Delray Beach, FL 33483                                           Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $ $1,300,000.00
                                                                                    Value of security:                               - $ $3,869,767.00
            Contact phone                                                           Unsecured claim                                    $ $1,090,012.16




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                          Page 4

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 Debtor 1          Bruce Steven Frank                                                               Case number (if known)

 12                                                                  What is the nature of the claim?              unpaid Order of             $ $21,824,689.74
                                                                                                                   Judgment
            Murrells Retail Associates, LLC
            c/o Parker Poe Adams &                                   As of the date you file, the claim is: Check all that apply
            Bernstein, LLP                                                   Contingent
            200 Meeting St # 300                                             Unliquidated
            Charleston, SC 29401                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 13                                                                  What is the nature of the claim?              personal guaranty of   $ $817,838.38
                                                                                                                   business debt in
                                                                                                                   which Rio Mall, LLC is
                                                                                                                   the principal debtor
            National Commercial Builders,
            Inc.                                                     As of the date you file, the claim is: Check all that apply
            10555 Rene St                                                    Contingent
            Lenexa, KS 66215                                                 Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 14                                                                  What is the nature of the claim?              personal guaranty of        $ $269,039.59
                                                                                                                   business debt in
                                                                                                                   which Frank Theatres
                                                                                                                   Teays Valley, LLC is
                                                                                                                   the principal debtor
            No S Properties, LLC
            135 Corporate Centre Dr # 550                            As of the date you file, the claim is: Check all that apply
            Scott Depot, WV 25560                                            Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 15                                                                  What is the nature of the claim?              unpaid mortgage on          $ $319,837.21
                                                                                                                   real property owned
                                                                                                                   by Debtor's wife
            Professional Bank

B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 5

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 Debtor 1          Bruce Steven Frank                                                               Case number (if known)

            396 Alhambra Cir # 255                                   As of the date you file, the claim is: Check all that apply
            Coral Gables, FL 33134                                           Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 16                                                                  What is the nature of the claim?              unpaid state income         $ $265,247.19
                                                                                                                   tax, penalties and
                                                                                                                   interest
            State of New Jersey
            Department of the Treasury                               As of the date you file, the claim is: Check all that apply
            Division of Taxation/Bankruptcy                                  Contingent
            Section                                                          Unliquidated
            POB 245                                                          Disputed
            Trenton, NJ 08695-0245                                            None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 17                                                                  What is the nature of the claim?              unpaid installment          $ $145,160.00
                                                                                                                   agreement
            Suntrust Bank Atlanta
            Attn: Bankruptcy                                         As of the date you file, the claim is: Check all that apply
            Mail Code VA-RVW-6290                                            Contingent
            POB 85092                                                        Unliquidated
            Richmond, VA 23286                                               Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 18                                                                  What is the nature of the claim?              personal guaranty of    $ $3,289,018.51
                                                                                                                   loans in which All Star
                                                                                                                   Development of
                                                                                                                   Conway, LLC is the
                                                                                                                   principal debtor
            Surrey Bank & Trust
            Attn: Peter A. Pequeno, SVP                              As of the date you file, the claim is: Check all that apply
            145 N Renfro St                                                  Contingent
            Mount Airy, NC 27030                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 6

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 Debtor 1          Bruce Steven Frank                                                               Case number (if known)




                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 19                                                                  What is the nature of the claim?              personal guaranty of        $ $1,031,829.00
                                                                                                                   loan in which Frank
                                                                                                                   Theatres Inlet Square,
                                                                                                                   LLC is the principal
                                                                                                                   debtor
            Surrey Bank & Trust
            Attn: Peter A. Pequeno, SVP                              As of the date you file, the claim is: Check all that apply
            145 N Renfro St                                                  Contingent
            Mount Airy, NC 27030                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 20                                                                  What is the nature of the claim?              unpaid Confession of        $ $2,671,408.34
                                                                                                                   Judgment
            United Bank of Philadelphia
            30 S 15 St # 1200                                        As of the date you file, the claim is: Check all that apply
            Philadelphia, PA 19102                                           Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ Bruce Steven Frank                                                           X
       Bruce Steven Frank                                                                   Signature of Debtor 2
       Signature of Debtor 1


       Date      April 26, 2019                                                             Date




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 7

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 Fill in this information to identify your case:

 Debtor 1                   Bruce Steven Frank
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $          1,934,883.50

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             291,777.63

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          2,226,661.13

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $         24,375,375.47

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $             603,942.94

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $         51,356,360.25


                                                                                                                                     Your total liabilities $           76,335,678.66


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $              50,000.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              44,300.15

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
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 Debtor 1      Bruce Steven Frank                                                         Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            603,942.94

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $            603,942.94




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Bruce Steven Frank
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF FLORIDA

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        392 Eagle Dr                                                                   Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Jupiter                           FL        33477-4066                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                            $3,869,767.00               $1,934,883.50
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Tenants by the Entireties
        Palm Beach                                                                     Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                (Homestead Real Property)
                                                                                (The value listed is the 2018 market value listed on the Palm Beach
                                                                                County Property Appraiser's website.)
                                                                                (Co-owned with Debtor's wife.)
                                                                                (The value listed is Debtor's 1/2 interest.)


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                    $1,934,883.50

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 1        Bruce Steven Frank                                                                             Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Bentley                                   Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Continental W12                                 Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2014                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                  17,121                Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         (VIN: SCBEC9ZA2EC094386)
         (The value listed is the Martin                             Check if this is community property                     $105,000.00                  $52,500.00
         Claire & Co. LLC market value.)                             (see instructions)

         (Co-owned with Debtor's wife.)
         (The value listed is Debtor's 1/2
         interest.)


  3.2    Make:       Land Rover                                Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Range Rover                                     Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2015                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                  35,869                Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         (VIN: SALGV3TF3FA208080)
         (The value listed is the NADA                               Check if this is community property                      $77,200.00                  $38,600.00
         clean retail value.)                                        (see instructions)

         (Co-owned with Frank
         Investments, Inc.)
         (The value listed is Debtor's 1/2
         interest.)
         (Vehicle to be surrendered.)


  3.3    Make:       Audi                                      Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      A7                                              Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2015                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                  50,318                Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         (VIN: WAU2GAFC4FN004251)
         (The value listed is the NADA                               Check if this is community property                      $33,400.00                  $16,700.00
         clean retail value.)                                        (see instructions)

         (Co-owned with Frank
         Investments, Inc.)
         (The value listed is Debtor's 1/2
         interest.)
         (Vehicle to be surrendered.)




Official Form 106A/B                                                       Schedule A/B: Property                                                                  page 2
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 Debtor 1        Bruce Steven Frank                                                                                 Case number (if known)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:       Golf Cart                                 Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Electric Club Car                               Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2017                                            Debtor 2 only                                            Current value of the     Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         See the attached Personal                                   Check if this is community property                              $4,000.00                    $2,000.00
         Property Appraisal prepared by                              (see instructions)

         Martin Claire & Co. LLC.
         (Co-owned with Debtor's
         spouse.)
         (The value listed is Debtor's 1/2
         interest.)



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>               $109,800.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    183 Golf Village Blvd: See the attached Personal Property
                                    Appraisal prepared by Martin Claire & Co. LLC.                                                                                  $2,100.00


                                    Storage Vaults in Brandon Transfer and Storage: See the attached
                                    Personal Property Appraisal prepared by Martin Claire & Co. LLC.                                                                $4,470.00


                                    183 Golf Village Blvd: See the attached Personal Property
                                    Appraisal prepared by Martin Claire & Co. LLC.
                                    (Co-owned with Debtor's spouse.)
                                    (The value listed is Debtor's 1/2 interest.)                                                                                    $4,847.50


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    183 Golf Village Blvd: See the attached Personal Property
                                    Appraisal prepared by Martin Claire & Co. LLC.
                                    (The value is included in item # 6.)
                                    (Co-owned with Debtor's spouse.)
                                    (The value listed is Debtor's 1/2 interest.)                                                                                          $0.00




Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 3
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 Debtor 1       Bruce Steven Frank                                                                  Case number (if known)

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    183 Golf Village Blvd: See the attached Personal Property
                                    Appraisal prepared by Martin Claire & Co. LLC.
                                    (Co-owned with Debtor's spouse.)
                                    (The value listed is Debtor's 1/2 interest.)                                                                 $6,875.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    183 Golf Village Blvd: See the attached Personal Property
                                    Appraisal prepared by Martin Claire & Co. LLC.
                                    (The value is included in item # 6.)
                                    (Co-owned with Debtor's spouse.)
                                    (The value listed is Debtor's 1/2 interest.)                                                                       $0.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    183 Golf Village Blvd: See the attached Personal Property
                                    Appraisal prepared by Martin Claire & Co. LLC.
                                    (The value is included in item # 6.)                                                                               $0.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    183 Golf Village Blvd: See the attached Personal Property
                                    Appraisal prepared by Martin Claire & Co. LLC.
                                    (The value is included in item # 6.)                                                                               $0.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                    Pets: (4 dogs - no commercial value)                                                                               $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....




Official Form 106A/B                                                 Schedule A/B: Property                                                            page 4
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 Debtor 1         Bruce Steven Frank                                                                                               Case number (if known)


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                              $18,292.50


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                 Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                         Cash in
                                                                                                                                         Debtor's
                                                                                                                                         possession                       $1,000.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:
                                                                                                  Professional Bank
                                                                                                  Professional Premier Checking Acct
                                                                                                  Acct # 0361
                                                                                                  (Co-owned with Debtor's wife.)
                                              17.1.       Checking                                (The value listed is Debtor's 1/2 interest.)                                $17.59


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                     % of ownership:

                                                  See the attached Bruce Frank - List of Business
                                                  Interests (Within 4 Years Prior to Petition Date)                                                      %                      $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

                                              401(k)                                              Inspira                                                                 Unknown




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 Debtor 1         Bruce Steven Frank                                                                       Case number (if known)

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                       Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):


                                     Florida Prepaid College Savings Plan
                                     Beneficiary: Steven B. Frank
                                     4-Yr University Tuition Plan
                                     Plan #: 4330                                                                                              $12,961.30


                                     Florida Prepaid College Savings Plan
                                     Beneficiary: Steven B. Frank
                                     4-Yr University Local Fee Plan
                                     Plan #: 4330                                                                                                $3,456.20


                                     Florida Prepaid College Savings Plan
                                     Beneficiary: Steven B. Frank
                                     1-Yr University Dormitory Plan
                                     Plan #: 4330                                                                                                $4,659.05


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
        Yes. Give specific information about them...

                                                Bruce S. Frank 2012 Irrevocable Trust dated December 14, 2012
                                                (owner and beneficiary of a $2,500,000.00 Mony Life Insurance
                                                Company of America life insurance policy (policy # 8182) on
                                                Debtor's life)                                                                                         $0.00


                                                Bruce S. Frank 2012 Irrevocable Trust II dated December 14, 2012
                                                (owner and beneficiary of a $5,000,000.00 AXA Equitable life
                                                insurance policy (policy # 8442) on Debtor's life)                                                     $0.00


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
        Yes. Give specific information about them...

                                                Licenses: (real estate license - no commercial value)                                                  $0.00


 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.
Official Form 106A/B                                                 Schedule A/B: Property                                                           page 6
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 Debtor 1       Bruce Steven Frank                                                                     Case number (if known)


28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                Beneficiary:                           Surrender or refund
                                                                                                                                     value:

                                         Mony Life Insurance Company of
                                         America
                                         Brightlife Protect, Series 155 life
                                         insurance policy
                                         Policy # 8182
                                         Amount of coverage: $2,500,000.00                    Bruce S. Frank 2012
                                         Policy account value: $63,234.79                     Irrevocable Trust
                                         Surrender charge: $82,707.88                         Dated: December 14,
                                         Gross cash surrender value: $0.00                    2012                                                      $0.00


                                         AXA Equitable Life Insurance Company
                                         Incentive Life Plus - Phase 2 life
                                         insurance policy
                                         Policy # 8442                                        Bruce S. Frank 2012
                                         Amount of coverage: $5,000,000.00                    Irrevocable Trust II
                                         Policy account value: $87,076.12                     Dated: December 14,
                                         Gross cash surrender value: $87,076.12               2012                                              $87,076.12


                                         Ameritas Life Insurance Corp.
                                         Flex Plus Universal Life life insurance
                                         policy
                                         Policy # 9932
                                         Amount of coverage: $800,000.00
                                         Policy account value: $55,204.92
                                         Surrender charge: $690.05
                                         Gross cash surrender value: $54,514.87               Joyce Frank                                       $54,514.87


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No

Official Form 106A/B                                                 Schedule A/B: Property                                                             page 7
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 Debtor 1        Bruce Steven Frank                                                                                              Case number (if known)

        Yes. Describe each claim.........

                                                          Claim against Frank Entertainment Group, LLC for breach of
                                                          employment agreements, unpaid wages, quantum meruit,
                                                          and unjust enrichment. Lawsuit filed in Palm Beach County
                                                          Circuit Court, Case No. 50-2017-CA-012887-XXXX-MB-AG.
                                                          Frank Entertainment Group, LLC filed Chapter 11 bankruptcy
                                                          in the District of New Jersey, on 12/19/2018, Case No.
                                                          18-34812 (SLM). The claim is for $1,462,916.00, but, based on
                                                          the aforementioned information, the actual value of this claim
                                                          is unknown.                                                                                                Unknown


                                                          Claim against Rio Mall, LLC. Rio Mall, LLC filed Chapter 11
                                                          bankruptcy in the Southern District of Florida on 6/28/2018,
                                                          Case No. 18-17840-BKC-EPK. Therefore, the actual value of
                                                          this claim is unknown.                                                                                     Unknown


                                                          Claim against Frank Investments, Inc. Frank Investments,
                                                          Inc. filed Chapter 11 bankruptcy in the Southern District of
                                                          Florida on 8/17/2018, Case No. 18-20019-BKC-EPK.
                                                          Therefore, the actual value of this claim is unknown.                                                      Unknown


                                                          Claim against Frank Theatres Management, LLC. Frank
                                                          Theatres Management, LLC filed Chapter 11 bankruptcy in
                                                          the Southern District of Florida on 8/17/2018, Case No.
                                                          18-20022-BKC-EPK. Therefore, the actual value of this claim
                                                          is unknown.                                                                                                Unknown


                                                          Claim against Frank Entertainment Companies, LLC. Frank
                                                          Entertainment Companies, LLC filed Chapter 11 bankruptcy
                                                          in the Southern District of Florida on 8/17/2018, Case No.
                                                          18-20023-BKC-EPK. Therefore, the actual value of this claim
                                                          is unknown.                                                                                                Unknown


                                                          Claim against Frank Investments, Inc. Frank Investments,
                                                          Inc. filed Chapter 11 bankruptcy in the Southern District of
                                                          Florida on 1/31/2019, Case No. 19-11454-BKC-EPK.
                                                          Therefore, the actual value of this claim is unknown.                                                      Unknown


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................   $163,685.13


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



Official Form 106A/B                                                           Schedule A/B: Property                                                                      page 8
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 Debtor 1         Bruce Steven Frank                                                                                                    Case number (if known)

 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
        Yes. Give specific information.........

                                               Country club membership at Admiral's Cove (value is included in the
                                               value of the real property - it can't be sold separately)                                                                           $0.00



 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $1,934,883.50
 56. Part 2: Total vehicles, line 5                                                                         $109,800.00
 57. Part 3: Total personal and household items, line 15                                                     $18,292.50
 58. Part 4: Total financial assets, line 36                                                                $163,685.13
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $291,777.63               Copy personal property total        $291,777.63

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $2,226,661.13




Official Form 106A/B                                                               Schedule A/B: Property                                                                          page 9
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                                                          Bruce Frank – List of Business Interests (Within 4 Years Prior to Petition Date)
                             Name of Business         Percentage          Nature of the          Dates of      Accountant or          Value
                                 Address              Ownership             Business             Existence      Bookkeeper
                                 Tax Id #                                                                         Name
                    Superplay Development Group,     Unknown          Commercial real          12/16/2005 -   None                Unknown
                    LLC                                               estate                   Present
                    1003 W Indiantown Rd # 210
                    Jupiter, FL 33458
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                    XX-XXXXXXX
                    Frank Galleria Holdings, LLC     0%               Commercial real          7/13/2006 –    None                $0.00
                    1003 W Indiantown Rd # 210                        estate                   2/6/2015
                    Jupiter, FL 33458
                    XX-XXXXXXX
                    Creekside Office Condominium     0%               Condominium              1/24/2007 –    None                $0.00
                    Association, Inc.                                 association              12/20/2018
Filed 04/26/19




                    1003 W Indiantown Rd # 210                        management
                    Jupiter, FL 33458
                    XX-XXXXXXX
                    Superplay USA, Inc.              100%             Former operator of       5/19/2004 –    None                $0.00
                    1003 W Indiantown Rd # 210                        Family Entertainment     2/6/2015
                    Jupiter, FL 33458                                 Center Port St. Lucie,
                    XX-XXXXXXX                                        FL
Doc 1




                    Frank Investments, Inc.          100%             Former owner of real     3/30/1998 –    Alan Barbee         Unknown
                    1003 W Indiantown Rd # 210                        estate in Jupiter, FL    10/22/2015
                    Jupiter, FL 33458
Case 19-15509-EPK




                    XX-XXXXXXX                                        Lessee of currently
                                                                      closed theater in
                                                                      Montgomeryville, PA
                    Superplay, LLC                   Unknown          Operator of Family       1/11/2018 -    None                Unknown
                    638 E Atlantic Ave                                Entertainment Center     Present
                    Delray Beach, FL 33483                            in Port St. Lucie, FL
                    XX-XXXXXXX
                    Frank Theatres Management, LLC   100% owned by    Theater and Family       2/26/2008 -    Alan Barbee         $0.00
                    1003 W Indiantown Rd # 210       Frank            Entertainment Center     Present
                    Jupiter, FL 33458                Entertainment    management services
                    XX-XXXXXXX                       Companies,
                                                     LLC
                    Frank Re Property Management     100%               Real estate             5/21/2013 -   None          $0.00
                    LLC                                                 management services     Present
                    1003 W Indiantown Rd # 210
                    Jupiter, FL 33458
                    XX-XXXXXXX
                    Frank Family Holdings LLC        Unknown            Holding company         5/22/2013 -   None          $0.00
                    1003 W Indiantown Rd # 210                                                  Present
                    Jupiter, FL 33458
                    XX-XXXXXXX
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                    BBRG Hospitality, LLC            Never              Never used              8/22/2016 -   None          $0.00
                    1003 W Indiantown Rd # 210       determined                                 Present
                    Jupiter, FL 33458
                    Unknown
                    Frank Entertainment Management   100%               Consulting services     7/20/2018 -   None          $0.00
                    Company, LLC                                                                Present
                    1003 W Indiantown Rd # 210
Filed 04/26/19




                    Jupiter, FL 33458
                    XX-XXXXXXX
                    FEC Holdings, LLC                100%               Holding company for     5/22/2013 -   None          $0.00
                    1003 W Indiantown Rd # 210                          Frank Entertainment     Present
                    Jupiter, FL 33458                                   Co LLC
                    XX-XXXXXXX
                    Frank Entertainment Companies,   100%               Parent of theater and   7/2/2013 -                  $0.00
Doc 1




                    LLC                                                 entertainment center    Present       Alan Barbee
                    1003 W Indiantown Rd # 210                          operating companies
                    Jupiter, FL 33458
Case 19-15509-EPK




                    XX-XXXXXXX
                    Frank Entertainment Group, LLC   30% (Seacoast      Parent company of       6/20/2014 -   None          $0.00
                    1003 W Indiantown Rd # 210       Capital/Triangle   theater and             Present
                    Jupiter, FL 33458                Capital owns       entertainment center
                    XX-XXXXXXX                       other 70%)         operating companies
                    FEC Towne, LLC                   100% owned by      Lessee of Theatre in    1/8/2018 –    None          $0.00
                    1003 W Indiantown Rd # 210       Frank              Egg Harbor              Present
                    Jupiter, FL 33458                Entertainment      Township, NJ (it
                    XX-XXXXXXX                       Companies,         closed in January
                                                     LLC                2019)
                    Frank Theatres Coral Springs,    100% owned by      Lessee of Theatre in    9/8/2010 -    None          $0.00
                    LLC                              Frank              Coral Springs, FL (it   Present
                    1003 W Indiantown Rd # 210       Entertainment
                    Jupiter, FL 33458                  Companies,      closed in March
                    XX-XXXXXXX                         LLC             2018)
                    Frank Theatres Gettysburg, LLC     100% owned by   Lessee of Theatre in      11/7/2007 -    None   $0.00
                    1003 W Indiantown Rd # 210         Frank           Gettysburg, PA (it        Present
                    Jupiter, FL 33458                  Entertainment   closed in January
                    XX-XXXXXXX                         Companies,      2019)
                                                       LLC
                    Frank Theatres Inlet Square, LLC   100% owned by   Lessee of                 3/24/2011 -    None   $0.00
                    1003 W Indiantown Rd # 210         Frank           Theatre/Entertainment     Present
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                    Jupiter, FL 33458                  Entertainment   Center in Murrells
                    XX-XXXXXXX                         Companies,      Inlet, SC (the facility
                                                       LLC             closed in 2016)
                    Frank Theatres Teays Valley, LLC   100% owned by   Lessee of Theatre in      5/21/2013 -    None   $0.00
                    1003 W Indiantown Rd # 210         Frank           Scott Depot, WV (it       Present
                    Jupiter, FL 33458                  Entertainment   closed in January
                    XX-XXXXXXX                         Companies,      2019)
Filed 04/26/19




                                                       LLC
                    Frank Theatres Tilton, LLC         100% owned by   Lessee of Theatre in      1/18/2011 -    None   $0.00
                    1003 W Indiantown Rd # 210         Frank           Northfield, NJ (it        Present
                    Jupiter, FL 33458                  Entertainment   closed in September
                    XX-XXXXXXX                         Companies,      2018)
                                                       LLC
                    Frank Theatres Victory, LLC        100% owned by   Lessee of Theatre in      10/18/2011 -   None   $0.00
Doc 1




                    1003 W Indiantown Rd # 210         Frank           Savannah, GA (it          Present
                    Jupiter, FL 33458                  Entertainment   closed in January
                    XX-XXXXXXX                         Companies,      2018)
Case 19-15509-EPK




                                                       LLC
                    Revolutions at Destiny, LLC        100% owned by   Lessee of                 8/3/2010 -     None   $0.00
                    1003 W Indiantown Rd # 210         Frank           Entertainment Center      Present
                    Jupiter, FL 33458                  Entertainment   in Syracuse, NY (the
                    XX-XXXXXXX                         Companies,      facility closed in
                                                       LLC             January 2017)
                    Frank Theatres Abacoa, LLC         100% owned by   Joint developer of        3/21/2014 -    None   $0.00
                    1003 W Indiantown Rd # 210         Frank           theater to be built in    Present
                    Jupiter, FL 33458                  Entertainment   Jupiter, FL (the deal
                    XX-XXXXXXX                         Companies,      was terminated in
                                                       LLC             2018)
                    Revolutions at Penn Treaty, LLC   100% owned by   Lessee of closed        4/3/2013      None          $0.00
                    1003 W Indiantown Rd # 210        Frank           entertainment center
                    Jupiter, FL 33458                 Entertainment   in Philadelphia, PA
                    XX-XXXXXXX                        Companies,
                                                      LLC
                    Frank Hospitality Penn Treaty,    100% owned by   Lessee of closed        4/3/2013 -    None          $0.00
                    LLC                               Frank           entertainment center    Present
                    1003 W Indiantown Rd # 210        Entertainment   in Philadelphia, PA
                    Jupiter, FL 33458                 Companies,      (held liquor license)
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                    XX-XXXXXXX                        LLC
                    Frank Theatres Princeton, LLC     100% owned by   Lessee of theater to be 3/20/2012 -   None          $0.00
                    1003 W Indiantown Rd # 210        Frank           built in Princeton, NJ Present
                    Jupiter, FL 33458                 Entertainment   (lease was terminated
                    XX-XXXXXXX                        Companies,      in 2018)
                                                      LLC
                    Frank Theatres Granite Run, LLC   100% owned by   Lessee of theater to be 7/28/2017 -   None          $0.00
Filed 04/26/19




                    1003 W Indiantown Rd # 210        Frank           built in Granite Run,   Present
                    Jupiter, FL 33458                 Entertainment   PA (lease was
                    XX-XXXXXXX                        Companies,      terminated in 2018)
                                                      LLC
                    All Star Development of Conway,   100% owned by   Operated a now          8/15/2006 -   None          $0.00
                    LLC                               Frank           closed theater in       Present
                    1003 W Indiantown Rd # 210        Entertainment   Conway, SC
Doc 1




                    Jupiter, FL 33458                 Companies,
                    XX-XXXXXXX                        LLC             Owns real estate,
                                                                      including a theater
Case 19-15509-EPK




                                                                      and 2 lots
                    Frank Investments Real Estate,    75%             Commercial real         8/21/1978 -   None          $0.00
                    Inc.                                              estate                  Present
                    1003 W Indiantown Rd # 210
                    Jupiter, FL 33458
                    XX-XXXXXXX
                    Rio Mall, LLC                     100%            Commercial real         8/12/2005 -   Alan Barbee
                    1003 W Indiantown Rd # 210                        estate                  Present
                    Jupiter, FL 33458
                    XX-XXXXXXX
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 Fill in this information to identify your case:

 Debtor 1                 Bruce Steven Frank
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      392 Eagle Dr Jupiter, FL 33477-4066                            $1,934,883.50                                             Fla. Const. art. X, § 4(a)(1);
      Palm Beach County                                                                                                        Fla. Stat. Ann. §§ 222.01 &
      (Homestead Real Property)                                                            100% of fair market value, up to    222.02
      (The value listed is the 2018 market                                                 any applicable statutory limit
      value listed on the Palm Beach
      County Property Appraiser's
      website.)
      (Co-owned with Debtor's wife.)
      (The value listed is Debtor's 1/2
      Line from Schedule A/B: 1.1

      2014 Bentley Continental W12 17,121                              $52,500.00                                     $0.00    Fla. Stat. Ann. § 222.25(1)
      miles
      (VIN: SCBEC9ZA2EC094386)                                                             100% of fair market value, up to
      (The value listed is the Martin Claire                                               any applicable statutory limit
      & Co. LLC market value.)
      (Co-owned with Debtor's wife.)
      (The value listed is Debtor's 1/2
      interest.)
      Line from Schedule A/B: 3.1




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
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 Debtor 1    Bruce Steven Frank                                                                          Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     2017 Golf Cart Electric Club Car                                 $2,000.00                                  $1,000.00        Fla. Const. art. X, § 4(a)(2)
     See the attached Personal Property
     Appraisal prepared by Martin Claire                                                   100% of fair market value, up to
     & Co. LLC.                                                                            any applicable statutory limit
     (Co-owned with Debtor's spouse.)
     (The value listed is Debtor's 1/2
     interest.)
     Line from Schedule A/B: 4.1

     401(k): Inspira                                                  Unknown                                                     Fla. Stat. Ann. § 222.21(2)
     Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Florida Prepaid College Savings Plan                            $12,961.30                                $12,961.30         Fla. Stat. Ann. § 222.22
     Beneficiary: Steven B. Frank
     4-Yr University Tuition Plan                                                          100% of fair market value, up to
     Plan #: 4330                                                                          any applicable statutory limit
     Line from Schedule A/B: 24.1

     Florida Prepaid College Savings Plan                             $3,456.20                                  $3,456.20        Fla. Stat. Ann. § 222.22
     Beneficiary: Steven B. Frank
     4-Yr University Local Fee Plan                                                        100% of fair market value, up to
     Plan #: 4330                                                                          any applicable statutory limit
     Line from Schedule A/B: 24.2

     Florida Prepaid College Savings Plan                             $4,659.05                                  $4,659.05        Fla. Stat. Ann. § 222.22
     Beneficiary: Steven B. Frank
     1-Yr University Dormitory Plan                                                        100% of fair market value, up to
     Plan #: 4330                                                                          any applicable statutory limit
     Line from Schedule A/B: 24.3

     Mony Life Insurance Company of                                         $0.00                                                 Fla. Stat. Ann. § 222.14
     America
     Brightlife Protect, Series 155 life                                                   100% of fair market value, up to
     insurance policy                                                                      any applicable statutory limit
     Policy # 8182
     Amount of coverage: $2,500,000.00
     Policy account value: $63,234.79
     Surrender charge: $82,707.88
     Gross cash surrender value: $0.00
     Beneficiary:
     Line from Schedule A/B: 31.1

     AXA Equitable Life Insurance                                    $87,076.12                                                   Fla. Stat. Ann. § 222.14
     Company
     Incentive Life Plus - Phase 2 life                                                    100% of fair market value, up to
     insurance policy                                                                      any applicable statutory limit
     Policy # 8442
     Amount of coverage: $5,000,000.00
     Policy account value: $87,076.12
     Gross cash surrender value:
     $87,076.12
     Beneficiary: Bruce S. Frank 2012
     Irrevoca
     Line from Schedule A/B: 31.2




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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 Debtor 1    Bruce Steven Frank                                                                          Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Ameritas Life Insurance Corp.                                   $54,514.87                                                   Fla. Stat. Ann. § 222.14
     Flex Plus Universal Life life
     insurance policy                                                                      100% of fair market value, up to
     Policy # 9932                                                                         any applicable statutory limit
     Amount of coverage: $800,000.00
     Policy account value: $55,204.92
     Surrender charge: $690.05
     Gross cash surrender value:
     $54,514.87
     Beneficiary: Joyce Frank
     Line from Schedule A/B: 31.3

     Claim against Frank Entertainment                                Unknown                                   Unknown           Fla. Stat. Ann. § 222.11(2)(c)
     Group, LLC for breach of
     employment agreements, unpaid                                                         100% of fair market value, up to
     wages, quantum meruit, and unjust                                                     any applicable statutory limit
     enrichment. Lawsuit filed in Palm
     Beach County Circuit Court, Case
     No.
     50-2017-CA-012887-XXXX-MB-AG.
     Frank Entertainment Group, LLC
     Line from Schedule A/B: 33.1

     Claim against Frank Entertainment                                Unknown                                   Unknown           Fla. Stat. Ann. § 222.11(2)(b)
     Group, LLC for breach of
     employment agreements, unpaid                                                         100% of fair market value, up to
     wages, quantum meruit, and unjust                                                     any applicable statutory limit
     enrichment. Lawsuit filed in Palm
     Beach County Circuit Court, Case
     No.
     50-2017-CA-012887-XXXX-MB-AG.
     Frank Entertainment Group, LLC
     Line from Schedule A/B: 33.1


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                   Bruce Steven Frank
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         Chrysler Financial/TD
 2.1                                                                                                          $114,794.00               $105,000.00            $9,794.00
         Auto                                     Describe the property that secures the claim:
         Creditor's Name                          2014 Bentley Continental W12
                                                  17,121 miles
                                                  (VIN: SCBEC9ZA2EC094386)
                                                  (The value listed is the Martin Claire
                                                  & Co. LLC market value.)
                                                  (Co-owned with Debtor's wife.)
         Attn: Bankruptcy                         (The value listed is Debtor's 1/2
         POB 9223                                 interest.)
                                                  As of the date you file, the claim is: Check all that
         Farmington Hills, MI                     apply.
         48333                                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Security Interest
       community debt

 Date debt was incurred          5/19/2018                 Last 4 digits of account number        0093

                                                                                                                                                            $1,090,012.1
 2.2     Larsen Capital, LLC                                                                                $1,300,000.00            $3,869,767.00
                                                  Describe the property that secures the claim:                                                                        6




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 4
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                                       Case 19-15509-EPK                         Doc 1         Filed 04/26/19               Page 45 of 98

 Debtor 1 Bruce Steven Frank                                                                                  Case number (if known)
               First Name                  Middle Name                      Last Name


         Creditor's Name                            392 Eagle Dr Jupiter, FL 33477-4066
                                                    Palm Beach County
                                                    (Homestead Real Property)
                                                    (The value listed is the 2018 market
                                                    value listed on the Palm Beach
                                                    County Property Appraiser's
                                                    website.)
                                                    (Co-owned with Debtor's wife.)
                                                    (The value listed
                                                    As of the date you file, the claim is: Check all that
         638 E Atlantic Ave                         apply.
         Delray Beach, FL 33483                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Second Mortgage
       community debt

 Date debt was incurred          11/12/2018                  Last 4 digits of account number         N/A

 2.3     Professional Bank                          Describe the property that secures the claim:                 $3,659,779.16        $3,869,767.00             $0.00
         Creditor's Name                            392 Eagle Dr Jupiter, FL 33477-4066
                                                    Palm Beach County
                                                    (Homestead Real Property)
                                                    (The value listed is the 2018 market
                                                    value listed on the Palm Beach
                                                    County Property Appraiser's
                                                    website.)
                                                    (Co-owned with Debtor's wife.)
                                                    (The value listed
                                                    As of the date you file, the claim is: Check all that
         396 Alhambra Cir # 255                     apply.
         Coral Gables, FL 33134                          Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   First Mortgage
       community debt

 Date debt was incurred          10/2/2017                   Last 4 digits of account number         0003

 2.4     TD Auto Finance, LLC                       Describe the property that secures the claim:                    $95,493.08          $77,200.00      $18,293.08




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 4
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 Debtor 1 Bruce Steven Frank                                                                                  Case number (if known)
               First Name                  Middle Name                      Last Name


         Creditor's Name                            2015 Land Rover Range Rover
                                                    35,869 miles
                                                    (VIN: SALGV3TF3FA208080)
                                                    (The value listed is the NADA clean
                                                    retail value.)
                                                    (Co-owned with Frank Investments,
                                                    Inc.)
         c/o Bertis Echols, Esq.                    (The value listed is Debtor's 1/2
         Evans Petree PC                            interest.)
         1715 Aaron Brenner Dr #                    (Vehicle to be surrendered.)
                                                    As of the date you file, the claim is: Check all that
         800                                        apply.
         Memphis, TN 38120                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Security Interest
       community debt

 Date debt was incurred          10/13/2016                  Last 4 digits of account number         0741

 2.5     The Bancorp Bank                           Describe the property that secures the claim:               $19,161,470.78         Unknown          Unknown
         Creditor's Name                            stock in certain of Debtor's
                                                    companies
                                                    As of the date you file, the claim is: Check all that
         405 Silverside Rd # 105                    apply.
         Wilmington, DE 19809                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          11/10/2008                  Last 4 digits of account number         3607

 2.6     VW Credit, Inc                             Describe the property that secures the claim:                    $43,838.45        $33,400.00     $10,438.45
         Creditor's Name                            2015 Audi A7 50,318 miles
                                                    (VIN: WAU2GAFC4FN004251)
                                                    (The value listed is the NADA clean
                                                    retail value.)
                                                    (Co-owned with Frank Investments,
                                                    Inc.)
                                                    (The value listed is Debtor's 1/2
                                                    interest.)
                                                    (Vehicle to be surrendered.)
                                                    As of the date you file, the claim is: Check all that
         POB 9013                                   apply.
         Addison, TX 75001                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.



Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3 of 4
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 Debtor 1 Bruce Steven Frank                                                                               Case number (if known)
              First Name                Middle Name                      Last Name



    Debtor 1 only                                     An agreement you made (such as mortgage or secured
    Debtor 2 only                                      car loan)

    Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another           Judgment lien from a lawsuit
    Check if this claim relates to a                  Other (including a right to offset)   Security Interest
    community debt

 Date debt was incurred       1/4/2017                    Last 4 digits of account number         6810


   Add the dollar value of your entries in Column A on this page. Write that number here:                             $24,375,375.47
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                            $24,375,375.47

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

        Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.3
        Professional Bank
        1567 San Remo Ave                                                                          Last 4 digits of account number   0003
        Coral Gables, FL 33146

        Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.4
        TD Auto Finance, LLC
        Attn: Bankruptcy                                                                           Last 4 digits of account number   0741
        POB 9223
        Farmington Hills, MI 48333

        Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.4
        TD Auto Finance, LLC
        POB 16041                                                                                  Last 4 digits of account number   0741
        Lewiston, ME 04243-9523

        Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.6
        VW Credit, Inc
        1401 Franklin Blvd                                                                         Last 4 digits of account number   6810
        Libertyville, IL 60048

        Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.6
        VW Credit, Inc
        POB 610353                                                                                 Last 4 digits of account number   6810
        Dallas, TX 75261-0353

        Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.6
        VW Credit, Inc
        Attn: Bankruptcy                                                                           Last 4 digits of account number   6810
        POB 3
        Hillboro, OR 97123




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 4 of 4
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 Fill in this information to identify your case:

 Debtor 1                     Bruce Steven Frank
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim      Priority              Nonpriority
                                                                                                                                         amount                amount
                                                                                                                            $311,580.0
 2.1          Department of the Treasury                             Last 4 digits of account number       0186                      0       $311,580.00                    $0.00
              Priority Creditor's Name
              Internal Revenue Service                               When was the debt incurred?           12/1/2016 - 12/31/2016
              POB 7346
              Philadelphia, PA 19101-7346
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No
                                                                        Other. Specify
              Yes                                                                        Proposed Employer Shared Responsibility
                                                                                         Payment




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 24
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                                    Case 19-15509-EPK                           Doc 1          Filed 04/26/19                Page 49 of 98
 Debtor 1 Bruce Steven Frank                                                                               Case number (if known)

 2.2        Georgia Department of Revenue                            Last 4 digits of account number     9846               $27,115.75             $27,115.75                    $0.00
            Priority Creditor's Name
            Taxpayer Services Division                               When was the debt incurred?         1/1/2016 - 1/31/2017
            POB 740321
            Atlanta, GA 30374-0321
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only
                                                                        Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:
            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No
                                                                        Other. Specify
            Yes                                                                          unpaid sales and use tax

                                                                                                                            $265,247.1
 2.3        State of New Jersey                                      Last 4 digits of account number     4000                        9           $265,247.19                     $0.00
            Priority Creditor's Name
            Department of the Treasury                               When was the debt incurred?         1/1/2012 - 12/31/2016
            Division of Taxation/Bankruptcy
            Section
            POB 245
            Trenton, NJ 08695-0245
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only
                                                                        Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:
            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No
                                                                        Other. Specify
            Yes                                                                          unpaid state income tax, penalties and interest

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 24
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 Debtor 1 Bruce Steven Frank                                                                             Case number (if known)

 4.1      21st Century Fox                                           Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          2121 Avenue of the Stars # 700                             When was the debt incurred?
          Los Angeles, CA 90067
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal guaranty of business debt


 4.2      35 Oak US 5, Inc.                                          Last 4 digits of account number                                                     $336,000.00
          Nonpriority Creditor's Name
          48 E Flagler St PH # 104                                   When was the debt incurred?           12/6/2018
          Miami, FL 33131
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   unpaid Final Judgment After Default


          Ajax Metal Building Master Tenant
 4.3      LP                                                         Last 4 digits of account number                                                    $1,000,116.74
          Nonpriority Creditor's Name
          114 Chestnut St                                            When was the debt incurred?           1/14/2019
          5th Floor
          Philadelphia, PA 19106
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   unpaid Notice of Judgment




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 24
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 Debtor 1 Bruce Steven Frank                                                                             Case number (if known)

 4.4      American Express                                           Last 4 digits of account number       2163                                             $4,690.42
          Nonpriority Creditor's Name
          Correspondence/Bankruptcy                                  When was the debt incurred?           10/1/1981 - 1/25/2019
          POB 981540
          El Paso, TX 79998
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card purchases


 4.5      Bank of America, N.A.                                      Last 4 digits of account number       5361                                             $9,380.00
          Nonpriority Creditor's Name
          4909 Savarese Cir                                          When was the debt incurred?           12/1/2002 - 1/7/2019
          FL1-908-01-50
          Tampa, FL 33634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card purchases


 4.6      Bank of America, N.A.                                      Last 4 digits of account number       1597                                             $7,841.00
          Nonpriority Creditor's Name
          4909 Savarese Cir                                          When was the debt incurred?           8/1/2015 - 1/31/2019
          FL1-908-01-50
          Tampa, FL 33634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card purchases




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 4.7      Bank of America, N.A.                                      Last 4 digits of account number       4979                                             $7,060.00
          Nonpriority Creditor's Name
          4909 Savarese Cir                                          When was the debt incurred?           10/1/2012 - 1/7/2019
          FL1-908-01-50
          Tampa, FL 33634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card purchases


 4.8      Barclays Bank Delaware                                     Last 4 digits of account number       9278                                           $78,038.84
          Nonpriority Creditor's Name
          Attn: Correspondence                                       When was the debt incurred?           10/1/2000 - 1/31/2019
          POB 8801
          Wilmington, DE 19899
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card purchases


 4.9      Brixmor Victory Square, LLC                                Last 4 digits of account number                                                     $168,287.00
          Nonpriority Creditor's Name
          450 Lexington Ave                                          When was the debt incurred?           3/18/2011
          13th Floor
          New York, NY 10017
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         personal guaranty of lease in which Frank
                                                                                         Theatres Victory, LLC is the principal
              Yes                                                       Other. Specify   debtor




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 4.1
 0        Buena Vista Pictures Distribution                          Last 4 digits of account number                                                     $134,983.93
          Nonpriority Creditor's Name
          Legal Department                                           When was the debt incurred?           3/30/2018 - 2/1/2019
          350 S Buena Vista St
          Burbank, CA 91521-1233
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         personal guaranty of business debt in
                                                                                         which Frank Entertainment Companies,
              Yes                                                       Other. Specify   LLC is the principal debtor


 4.1
 1        Centennial Bank                                            Last 4 digits of account number                                                    $2,101,175.58
          Nonpriority Creditor's Name
          719 Harkrider St                                           When was the debt incurred?           4/6/2007 - 7/6/2018
          POB 966
          Conway, AR 72032
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         personal guaranty of loan in which Frank
              Yes                                                       Other. Specify   Investments, Inc. is the principal debtor


 4.1
 2        Chase Card Services                                        Last 4 digits of account number       9753                                           $39,184.00
          Nonpriority Creditor's Name
          Correspondence Dept                                        When was the debt incurred?           4/1/2006 - 12/31/2018
          POB 15298
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card purchases




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 4.1
 3        Chase Card Services                                        Last 4 digits of account number       6046                                             $1,099.00
          Nonpriority Creditor's Name
          Correspondence Dept                                        When was the debt incurred?           6/1/2018 - 1/4/2019
          POB 15298
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card purchases


 4.1
 4        Citibank, N.A.                                             Last 4 digits of account number       7004                                           $71,280.32
          Nonpriority Creditor's Name
          POB 6077                                                   When was the debt incurred?           1/1/2006 - 1/9/2019
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   credit card purchases


 4.1
 5        Core Equity II, L.P.                                       Last 4 digits of account number                                                    $1,463,222.30
          Nonpriority Creditor's Name
          114 Chestnut St                                            When was the debt incurred?           6/1/2017 - 8/31/2018
          5th Floor
          Philadelphia, PA 19106
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         personal guaranty of lease in which
                                                                                         Revolutions at Penn Treaty, LLC is the
              Yes                                                       Other. Specify   principal debtor




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 4.1      De Lage Landen Financial Services,
 6        Inc.                                                       Last 4 digits of account number       3377                                             $1,680.46
          Nonpriority Creditor's Name
          POB 41602                                                  When was the debt incurred?           3/1/2019 - 4/30/2019
          Philadelphia, PA 19101-1602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         potential personal guaranty of business
                                                                                         debt in which Frank Investments, Inc. is the
              Yes                                                       Other. Specify   principal debtor


 4.1
 7        Destiny USA Holdings, LLC                                  Last 4 digits of account number                                                     $390,000.00
          Nonpriority Creditor's Name
          4 Clinton Square                                           When was the debt incurred?           9/7/2018
          Syracuse, NY 13202-1078
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   unpaid Statement for Judgment


 4.1
 8        First Run, LLC                                             Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          W3995 Kelly Rd                                             When was the debt incurred?           2014
          Lake Geneva, WI 53147
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         personal guaranty of business debt in
                                                                                         which Frank Entertainment Group, LLC is
              Yes                                                       Other. Specify   the principal debtor




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 4.1      Frank Entertainment Companies,
 9        LLC                                                        Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          c/o Shraiberg Landau & Page, P.A.                          When was the debt incurred?
          2385 NW Executive Center Dr # 300
          Boca Raton, FL 33431
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt


 4.2
 0        Frank Entertainment Group, LLC                             Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          c/o Shraiberg Landau & Page, P.A.                          When was the debt incurred?
          2385 NW Executive Center Dr # 300
          Boca Raton, FL 33431
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt


 4.2
 1        Frank Investments, Inc.                                    Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          c/o Shraiberg Landau & Page, P.A.                          When was the debt incurred?
          2385 NW Executive Center Dr # 300
          Boca Raton, FL 33431
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt




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 4.2
 2        Frank Theatres Management, LLC                             Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          c/o Shraiberg Landau & Page, P.A.                          When was the debt incurred?
          2385 NW Executive Center Dr # 300
          Boca Raton, FL 33431
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt


 4.2
 3        GM Financial                                               Last 4 digits of account number       1737                                           $10,039.95
          Nonpriority Creditor's Name
          POB 183581                                                 When was the debt incurred?           4/18/2018
          Arlington, TX 76096-3581
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         potential personal guaranty of car lease in
                                                                                         which Frank Investments, Inc. is the Lessee
              Yes                                                       Other. Specify   (2108 GMC Terrain)


 4.2
 4        Investors Bank                                             Last 4 digits of account number       8508                                         $9,800,000.00
          Nonpriority Creditor's Name
          101 JFK Pkwy                                               When was the debt incurred?           12/14/2015
          Short Hills, NJ 07078
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         personal guaranty of loan in which Rio
              Yes                                                       Other. Specify   Mall, LLC is the principal debtor




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 4.2
 5        Investors Bank                                             Last 4 digits of account number       0518                                         $3,119,500.44
          Nonpriority Creditor's Name
          101 JFK Pkwy                                               When was the debt incurred?           2/28/2019
          Short Hills, NJ 07078
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   unpaid Consent Judgment


 4.2
 6        Kingsport Mall, LLC                                        Last 4 digits of account number                                                    $1,886,366.28
          Nonpriority Creditor's Name
          c/o R. Lee McVey II, Esq.                                  When was the debt incurred?           8/9/2013
          108 E Main St # 208
          Kingsport, TN 37660
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         alleged personal guaranty of lease in which
                                                                                         Frank Theatres Kingsport, LLC is the
              Yes                                                       Other. Specify   principal debtor


 4.2
 7        Lionsgate                                                  Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          2700 Colorado Ave                                          When was the debt incurred?
          Santa Monica, CA 90404
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt




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 4.2
 8        Murrells Retail Associates, LLC                            Last 4 digits of account number                                                    $21,824,689.74
          Nonpriority Creditor's Name
          c/o Parker Poe Adams & Bernstein,                          When was the debt incurred?           3/6/2019
          LLP
          200 Meeting St # 300
          Charleston, SC 29401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   unpaid Order of Judgment


 4.2
 9        National Commercial Builders, Inc.                         Last 4 digits of account number                                                       $817,838.38
          Nonpriority Creditor's Name
          10555 Rene St                                              When was the debt incurred?           9/23/2016 - 12/9/2017
          Lenexa, KS 66215
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         personal guaranty of business debt in
              Yes                                                       Other. Specify   which Rio Mall, LLC is the principal debtor


 4.3
 0        NEC Financial Services, LLC                                Last 4 digits of account number                                                       $112,418.11
          Nonpriority Creditor's Name
          250 Pehle Ave # 704                                        When was the debt incurred?           6/1/2017
          Saddle Brook, NJ 07663
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   unpaid Final Judgment




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 4.3      Nehmad Perillo Davis & Goldstein,
 1        P.C.                                                       Last 4 digits of account number       6005                                             $3,619.00
          Nonpriority Creditor's Name
          4030 Ocean Heights Ave # 100                               When was the debt incurred?           8/31/2018 - 1/31/2019
          Egg Harbor Township, NJ 08234
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   unpaid legal bills


 4.3
 2        Newspaper Media Group                                      Last 4 digits of account number       4660                                             $2,117.50
          Nonpriority Creditor's Name
          130 Twinbridge Dr                                          When was the debt incurred?           1/1/2017 - 3/31/2019
          Pennsauken, NJ 08110
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         potential personal guaranty of business
                                                                                         debt in which Frank Entertainment
              Yes                                                       Other. Specify   Companies, LLC is the principal debtor


 4.3
 3        No S Properties, LLC                                       Last 4 digits of account number                                                     $269,039.59
          Nonpriority Creditor's Name
          135 Corporate Centre Dr # 550                              When was the debt incurred?           5/18/2004
          Scott Depot, WV 25560
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         personal guaranty of business debt in
                                                                                         which Frank Theatres Teays Valley, LLC is
              Yes                                                       Other. Specify   the principal debtor




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 4.3
 4        Oracle America, Inc.                                       Last 4 digits of account number       0686                                             $3,761.49
          Nonpriority Creditor's Name
          POB 44471                                                  When was the debt incurred?           4/26/2018
          San Francisco, CA 94144-4471
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         potential personal guaranty of debt in
                                                                                         which Revolutions at Penn Treaty, LLC is
              Yes                                                       Other. Specify   the principal debtor


 4.3
 5        Padula Bennardo Levine, LLP                                Last 4 digits of account number                                                        $7,254.31
          Nonpriority Creditor's Name
          3837 NW Boca Raton Blvd # 200                              When was the debt incurred?           12/3/2018 - 1/24/2019
          Boca Raton, FL 33431
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         potential personal guaranty of attorney's
                                                                                         fees in which Frank Management, LLC is
              Yes                                                       Other. Specify   the principal debtor


 4.3
 6        Paramount                                                  Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          5555 Melrose Ave                                           When was the debt incurred?
          Los Angeles, CA 90038
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt




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 4.3
 7        Professional Bank                                          Last 4 digits of account number       0003                                          $319,837.21
          Nonpriority Creditor's Name
          396 Alhambra Cir # 255                                     When was the debt incurred?           3/29/2018
          Coral Gables, FL 33134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         unpaid mortgage on real property owned
              Yes                                                       Other. Specify   by Debtor's wife


 4.3
 8        Rio Mall, LLC                                              Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          c/o Shraiberg Landau & Page, P.A.                          When was the debt incurred?
          2385 NW Executive Center Dr # 300
          Boca Raton, FL 33431
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt


 4.3
 9        Saucon Valley School District                              Last 4 digits of account number       6611                                           $73,923.26
          Nonpriority Creditor's Name
          c/o Portnoff Law Associates, Ltd.                          When was the debt incurred?           1/1/2018 - 12/31/2018
          2700 Horizon Dr # 100
          King of Prussia, PA 19406
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         personal guaranty of business debt in
                                                                                         which Frank Entertainment Group, LLC is
              Yes                                                       Other. Specify   the principal debtor




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 4.4
 0        Sony Pictures Releasing                                    Last 4 digits of account number                                                      $11,468.74
          Nonpriority Creditor's Name
          POB 840550                                                 When was the debt incurred?           12/5/2018 - 1/22/2019
          Dallas, TX 75284-0550
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         personal guaranty of business debt in
                                                                                         which Frank Theatre Group is the principal
              Yes                                                       Other. Specify   debtor


 4.4
 1        STX Entertainment                                          Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          3900 W Alameda Ave                                         When was the debt incurred?
          Burbank, CA 91505
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt


 4.4
 2        Suntrust Bank Atlanta                                      Last 4 digits of account number       1610                                          $145,160.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           11/1/2017 - 1/23/2019
          Mail Code VA-RVW-6290
          POB 85092
          Richmond, VA 23286
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   unpaid installment agreement




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 4.4
 3        Surrey Bank & Trust                                        Last 4 digits of account number       6200                                         $3,289,018.51
          Nonpriority Creditor's Name
          Attn: Peter A. Pequeno, SVP                                When was the debt incurred?           6/30/2009
          145 N Renfro St
          Mount Airy, NC 27030
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         personal guaranty of loans in which All
                                                                                         Star Development of Conway, LLC is the
              Yes                                                       Other. Specify   principal debtor


 4.4
 4        Surrey Bank & Trust                                        Last 4 digits of account number       5200                                         $1,031,829.00
          Nonpriority Creditor's Name
          Attn: Peter A. Pequeno, SVP                                When was the debt incurred?           7/13/2011
          145 N Renfro St
          Mount Airy, NC 27030
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         personal guaranty of loan in which Frank
                                                                                         Theatres Inlet Square, LLC is the principal
              Yes                                                       Other. Specify   debtor




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 4.4
 5        Sysco Business Services                                    Last 4 digits of account number       8343                                             $5,821.80
          Nonpriority Creditor's Name
          24500 Hwy 290                                              When was the debt incurred?           2/28/2018 - 8/28/2018
          Cypress, TX 77429
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         potential personal guaranty of business
                                                                                         debt in which Tilton Shopping Center is the
              Yes                                                       Other. Specify   principal debtor


 4.4
 6        Twentieth Century Fox Film Corp.                           Last 4 digits of account number                                                      $45,257.11
          Nonpriority Creditor's Name
          5799 Collection Center Dr                                  When was the debt incurred?           10/19/2018 - 1/24/2019
          Chicago, IL 60693
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         potential personal guaranty of business
                                                                                         debt in which Frank Entertainment
              Yes                                                       Other. Specify   Companies LLC is the principal debtor


 4.4
 7        United Artist Releasing                                    Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          750 N San Vicente Blvd                                     When was the debt incurred?
          Red Tower E
          12th Floor
          West Hollywood, CA 90069
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt




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 4.4
 8        United Bank of Philadelphia                                Last 4 digits of account number                                                    $2,671,408.34
          Nonpriority Creditor's Name
          30 S 15 St # 1200                                          When was the debt incurred?           11/5/2018
          Philadelphia, PA 19102
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   unpaid Confession of Judgment


 4.4
 9        Universal Film Exchanges LLC                               Last 4 digits of account number                                                      $32,142.90
          Nonpriority Creditor's Name
          POB 848270                                                 When was the debt incurred?           11/9/2018 - 1/24/2019
          Dallas, TX 75284-8270
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         personal guaranty of business debt in
                                                                                         which Frank Theatres Management LLC is
              Yes                                                       Other. Specify   the principal debtor


 4.5
 0        Warner Brothers                                            Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          4000 Warner Blvd                                           When was the debt incurred?
          Burbank, CA 91522
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   business debt




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 4.5
 1         Water Tower Square Associates                             Last 4 digits of account number                                                                Unknown
           Nonpriority Creditor's Name
           c/o Jeffrey Kurtzman, Esq.                                When was the debt incurred?           1/1/2007
           Kurtzman Steady, LLC
           38 N Haddon Ave
           Haddonfield, NJ 08033
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal guarantee of business lease


 4.5
 2         WhiteKnight Solutions LLC                                 Last 4 digits of account number       5410                                                   $59,809.00
           Nonpriority Creditor's Name
           2401 NW Boca Raton Blvd                                   When was the debt incurred?           5/15/2017 - 7/1/2018
           Boca Raton, FL 33431-6632
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   unpaid legal bill

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 35 Oak US 5, Inc.                                             Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 c/o Akerman LLP                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Three Brickell City Centre
 98 SE 7 St # 1100
 Miami, FL 33131
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 35 Oak US 5, Inc.                                             Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 c/o Sprechman & Fisher, P.A.                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 2775 Sunny Isles Blvd # 100
 Miami, FL 33160-4007
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ajax Metal Building Master Tenant                             Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 LP                                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 c/o Glenn M. Ross, P.C.
 566 S Bethlehem Pike

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 Fort Washington, PA 19034
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Express                                              Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 POB 981537                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998
                                                               Last 4 digits of account number                    2163

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America, N.A.                                         Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 POB 982238                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998
                                                               Last 4 digits of account number                    5361

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America, N.A.                                         Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 POB 982238                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998
                                                               Last 4 digits of account number                    1597

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bank of America, N.A.                                         Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 POB 982238                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 El Paso, TX 79998
                                                               Last 4 digits of account number                    4979

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Barclays Bank Delaware                                        Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 POB 8803                                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19899
                                                               Last 4 digits of account number                    9278

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Brixmor Victory Square, LLC                                   Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 c/o W. Kerry Howell, LLC                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 230 Third St
 Macon, GA 31201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Buena Vista Pictures Distribution                             Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o ABC-Amega, Inc.                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 500 Seneca St # 400
 Buffalo, NY 14204-1963
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Centennial Bank                                               Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Pineiro Byrd PLLC                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 4600 Military Trail # 212
 Jupiter, FL 33458
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Citibank, N.A.                                                Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 POB 6241                                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Sioux Falls, SD 57117
                                                               Last 4 digits of account number                    7004

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Core Equity II, L.P.                                          Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Glenn M. Ross, P.C.                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 566 S Bethlehem Pike
 Fort Washington, PA 19034
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Department of the Treasury                                    Line 2.1 of (Check one):

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 21 of 24
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 Debtor 1 Bruce Steven Frank                                                                             Case number (if known)

 Internal Revenue Service                                                                                 Part 1: Creditors with Priority Unsecured Claims
 POB 7317                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Philadelphia, PA 19101-7317
                                                               Last 4 digits of account number                  0186

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Department of the Treasury                                    Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Internal Revenue Service                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 1973 N Rulon White Blvd
 Ogden, UT 84201-0062
                                                               Last 4 digits of account number                  0186

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Destiny USA Holdings, LLC                                     Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Akerman, LLP                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 350 E Las Olas Blvd # 1600
 Fort Lauderdale, FL 33301-4247
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Destiny USA Holdings, LLC                                     Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Young/Sommer LLC                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Five Palisades Dr
 Albany, NY 12205
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Frank Entertainment Group, LLC                                Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o GrayRobinson, P.A.                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 515 N Flagler Dr # 1425
 West Palm Beach, FL 33401
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 GM Financial                                                  Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 POB 100                                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Williamsville, NY 14231
                                                               Last 4 digits of account number                  1737

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Investors Bank                                                Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Dilworth Paxson LLP                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 1500 Market St # 3500E
 Philadelphia, PA 19102
                                                               Last 4 digits of account number                  8508

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Jessica Crowder                                               Line 2.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 NJ Division of Taxation                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Pioneer Credit Recovery
 POB 1018
 Moorestown, NJ 08057-1018
                                                               Last 4 digits of account number                  4000

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 National Commercial Builders, Inc.                            Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Hurvitz & Waldman LLC                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 1008 S New Rd
 Pleasantville, NJ 08232
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NEC Financial Services, LLC                                   Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Romano, Garubo & Argentieri                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 52 Newton Ave
 Woodbury, NJ 08096
                                                               Last 4 digits of account number



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 22 of 24
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 Debtor 1 Bruce Steven Frank                                                                             Case number (if known)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NEC Financial Services, LLC                                   Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Mitrani, Rynor, Adamsky &                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Toland, PA
 1200 Weston Rd # PH
 Weston, FL 33326
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 No S Properties, LLC                                          Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Tyree, Embree & Associates,                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 PLLC
 3564 Teays Valley Rd
 Hurricane, WV 25526
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 No S Properties, LLC                                          Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 500 Corporate Centre Dr # 550                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Scott Depot, WV 25560
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Professional Bank                                             Line 4.37 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1567 San Remo Ave                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Coral Gables, FL 33146
                                                               Last 4 digits of account number                  0003

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sony Pictures Releasing                                       Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 10202 W Washington Blvd                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Culver City, CA 90232-3119
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Suntrust Bank Atlanta                                         Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 POB 85526                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Richmond, VA 23285
                                                               Last 4 digits of account number                  1610

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Surrey Bank & Trust                                           Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o R. Bradford Leggett, Esq.                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Allman Spry
 Post Office Drawer 5129
 Winston Salem, NC 27113-5129
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Surrey Bank & Trust                                           Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Richard M. Lovelace, Jr., P.A.                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 POB 1704
 Conway, SC 29528
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Surrey Bank & Trust                                           Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o R. Bradford Leggett, Esq.                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Allman Spry
 Post Office Drawer 5129
 Winston Salem, NC 27113-5129
                                                               Last 4 digits of account number                  5200

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Surrey Bank & Trust                                           Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Richard M. Lovelace, Jr., P.A.                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 POB 1704
 Conway, SC 29528
                                                               Last 4 digits of account number                  5200
Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 23 of 24
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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 United Bank of Philadelphia                                   Line 4.48 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 McElroy, Deutsch, Mulvaney &                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Carpenter
 1617 John F. Kennedy Blvd # 1500
 Philadelphia, PA 19103-1815
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Universal Film Exchanges LLC                                  Line 4.49 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 100 Universal City Plaza                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Universal City, CA 91608
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 WhiteKnight Solutions LLC                                     Line 4.52 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 490 Sawgrass Corporate Pkwy # 200                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Sunrise, FL 33325-6252
                                                               Last 4 digits of account number                    5410

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 WhiteKnight Solutions LLC                                     Line 4.52 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4455 Military Trail # 201                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Jupiter, FL 33458-4828
                                                               Last 4 digits of account number                    5410

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                  603,942.94
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                  603,942.94

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $              51,356,360.25

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $              51,356,360.25




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 24 of 24
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 Fill in this information to identify your case:

 Debtor 1                  Bruce Steven Frank
                           First Name                         Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name               Last Name


 United States Bankruptcy Court for the:               SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                       State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Bruce Steven Frank
                            First Name                           Middle Name           Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name           Last Name


 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                      Check if this is an
                                                                                                                                 amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                       12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                        Check all schedules that apply:


    3.1         All Star Development of Conway, LLC                                                     Schedule D, line
                1003 W Indiantown Rd # 210                                                              Schedule E/F, line    4.43
                Jupiter, FL 33458
                                                                                                        Schedule G
                                                                                                      Surrey Bank & Trust



    3.2         Estate of Terry Parmet Frank                                                            Schedule D, line   2.5
                c/o Bruce Steven Frank                                                                  Schedule E/F, line
                1003 W Indiantown Rd # 210
                                                                                                        Schedule G
                Jupiter, FL 33458
                                                                                                      The Bancorp Bank



    3.3         FEC Holdings, LLC                                                                       Schedule D, line
                1003 W Indiantown Rd # 210                                                              Schedule E/F, line   4.48
                Jupiter, FL 33458
                                                                                                        Schedule G
                                                                                                      United Bank of Philadelphia




Official Form 106H                                                                Schedule H: Your Codebtors                                  Page 1 of 8
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 Debtor 1 Bruce Steven Frank                                                           Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.4      Frank All Star Theatres, LLC                                                     Schedule D, line   2.5
             1003 W Indiantown Rd # 210                                                       Schedule E/F, line
             Jupiter, FL 33458
                                                                                              Schedule G
                                                                                            The Bancorp Bank



    3.5      Frank Entertainment Companies, LLC                                               Schedule D, line
             c/o Shraiberg Landau & Page, P.A.                                                Schedule E/F, line  4.17
             2385 NW Executive Center Dr # 300
                                                                                              Schedule G
             Boca Raton, FL 33431
                                                                                            Destiny USA Holdings, LLC



    3.6      Frank Entertainment Companies, LLC                                               Schedule D, line
             c/o Shraiberg Landau & Page, P.A.                                                Schedule E/F, line    4.26
             2385 NW Executive Center Dr # 300
                                                                                              Schedule G
             Boca Raton, FL 33431
                                                                                            Kingsport Mall, LLC



    3.7      Frank Entertainment Companies, LLC                                               Schedule D, line   2.5
             c/o Shraiberg Landau & Page, P.A.                                                Schedule E/F, line
             2385 NW Executive Center Dr # 300
                                                                                              Schedule G
             Boca Raton, FL 33431
                                                                                            The Bancorp Bank



    3.8      Frank Entertainment Companies, LLC                                               Schedule D, line
             c/o Shraiberg Landau & Page, P.A.                                                Schedule E/F, line  4.30
             2385 NW Executive Center Dr # 300
                                                                                              Schedule G
             Boca Raton, FL 33431
                                                                                            NEC Financial Services, LLC



    3.9      Frank Entertainment Companies, LLC                                               Schedule D, line
             c/o Shraiberg Landau & Page, P.A.                                                Schedule E/F, line    4.15
             2385 NW Executive Center Dr # 300
                                                                                              Schedule G
             Boca Raton, FL 33431
                                                                                            Core Equity II, L.P.



    3.10     Frank Entertainment Companies, LLC                                               Schedule D, line
             c/o Shraiberg Landau & Page, P.A.                                                Schedule E/F, line 4.32
             2385 NW Executive Center Dr # 300
                                                                                              Schedule G
             Boca Raton, FL 33431
                                                                                            Newspaper Media Group




Official Form 106H                                                      Schedule H: Your Codebtors                                Page 2 of 8
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 Debtor 1 Bruce Steven Frank                                                           Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.11     Frank Entertainment Companies, LLC                                               Schedule D, line
             c/o Shraiberg Landau & Page, P.A.                                                Schedule E/F, line  4.10
             2385 NW Executive Center Dr # 300
                                                                                              Schedule G
             Boca Raton, FL 33431
                                                                                            Buena Vista Pictures Distribution



    3.12     Frank Entertainment Companies, LLC                                               Schedule D, line
             c/o Shraiberg Landau & Page, P.A.                                                Schedule E/F, line  4.46
             2385 NW Executive Center Dr # 300
                                                                                              Schedule G
             Boca Raton, FL 33431
                                                                                            Twentieth Century Fox Film Corp.



    3.13     Frank Entertainment Group, LLC                                                   Schedule D, line
             1003 W Indiantown Rd # 210                                                       Schedule E/F, line    4.26
             Jupiter, FL 33458
                                                                                              Schedule G
                                                                                            Kingsport Mall, LLC



    3.14     Frank Entertainment Group, LLC                                                   Schedule D, line
             1003 W Indiantown Rd # 210                                                       Schedule E/F, line  4.39
             Jupiter, FL 33458
                                                                                              Schedule G
                                                                                            Saucon Valley School District



    3.15     Frank Hospitality Penn Treaty, LLC                                               Schedule D, line
             1003 W Indiantown Rd # 210                                                       Schedule E/F, line   4.48
             Jupiter, FL 33458
                                                                                              Schedule G
                                                                                            United Bank of Philadelphia



    3.16     Frank Hospitality Penn Treaty, LLC                                               Schedule D, line
             1003 W Indiantown Rd # 210                                                       Schedule E/F, line    4.15
             Jupiter, FL 33458
                                                                                              Schedule G
                                                                                            Core Equity II, L.P.



    3.17     Frank Investments, Inc.                                                           Schedule D, line
             c/o Shraiberg Landau & Page, P.A.                                                 Schedule E/F, line   4.24
             2385 NW Executive Center Dr # 300
                                                                                               Schedule G
             Boca Raton, FL 33431
                                                                                            Investors Bank



    3.18     Frank Investments, Inc.                                                          Schedule D, line
             c/o Shraiberg Landau & Page, P.A.                                                Schedule E/F, line 4.51
             2385 NW Executive Center Dr # 300
                                                                                              Schedule G
             Boca Raton, FL 33431
                                                                                            Water Tower Square Associates




Official Form 106H                                                      Schedule H: Your Codebtors                                Page 3 of 8
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 Debtor 1 Bruce Steven Frank                                                           Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.19     Frank Investments, Inc.                                                          Schedule D, line
             c/o Shraiberg Landau & Page, P.A.                                                Schedule E/F, line    4.11
             2385 NW Executive Center Dr # 300
                                                                                              Schedule G
             Boca Raton, FL 33431
                                                                                            Centennial Bank



    3.20     Frank Investments, Inc.                                                          Schedule D, line   2.5
             c/o Shraiberg Landau & Page, P.A.                                                Schedule E/F, line
             2385 NW Executive Center Dr # 300
                                                                                              Schedule G
             Boca Raton, FL 33431
                                                                                            The Bancorp Bank



    3.21     Frank Investments, Inc.                                                          Schedule D, line
             c/o Shraiberg Landau & Page, P.A.                                                Schedule E/F, line    4.23
             2385 NW Executive Center Dr # 300
                                                                                              Schedule G
             Boca Raton, FL 33431
                                                                                            GM Financial



    3.22     Frank Investments, Inc.                                                          Schedule D, line   2.6
             c/o Shraiberg Landau & Page, P.A.                                                Schedule E/F, line
             2385 NW Executive Center Dr # 300
                                                                                              Schedule G
             Boca Raton, FL 33431
                                                                                            VW Credit, Inc



    3.23     Frank Investments, Inc.                                                          Schedule D, line   2.4
             c/o Shraiberg Landau & Page, P.A.                                                Schedule E/F, line
             2385 NW Executive Center Dr # 300
                                                                                              Schedule G
             Boca Raton, FL 33431
                                                                                            TD Auto Finance, LLC



    3.24     Frank Investments, Inc.                                                          Schedule D, line
             c/o Shraiberg Landau & Page, P.A.                                                Schedule E/F, line 4.16
             2385 NW Executive Center Dr # 300
                                                                                              Schedule G
             Boca Raton, FL 33431
                                                                                            De Lage Landen Financial Services, Inc.



    3.25     Frank Management, LLC                                                            Schedule D, line
             1003 W Indiantown Rd # 210                                                       Schedule E/F, line  4.30
             Jupiter, FL 33458
                                                                                              Schedule G
                                                                                            NEC Financial Services, LLC



    3.26     Frank Management, LLC                                                            Schedule D, line
             1003 W Indiantown Rd # 210                                                       Schedule E/F, line 4.35
             Jupiter, FL 33458
                                                                                              Schedule G
                                                                                            Padula Bennardo Levine, LLP


Official Form 106H                                                      Schedule H: Your Codebtors                                Page 4 of 8
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 Debtor 1 Bruce Steven Frank                                                           Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:


    3.27     Frank Management, LLC                                                            Schedule D, line
             1003 W Indiantown Rd # 210                                                       Schedule E/F, line  2.1
             Jupiter, FL 33458
                                                                                              Schedule G
                                                                                            Department of the Treasury



    3.28     Frank Montgomeryville, LLC                                                       Schedule D, line
             1003 W Indiantown Rd # 210                                                       Schedule E/F, line 4.51
             Jupiter, FL 33458
                                                                                              Schedule G
                                                                                            Water Tower Square Associates



    3.29     Frank Theatre Group                                                              Schedule D, line
             8205 Lagoon Dr # 210                                                             Schedule E/F, line  4.40
             Margate City, NJ 08402
                                                                                              Schedule G
                                                                                            Sony Pictures Releasing



    3.30     Frank Theatres Inlet Square, LLC                                                 Schedule D, line
             1003 W Indiantown Rd # 210                                                       Schedule E/F, line   4.28
             Jupiter, FL 33458
                                                                                              Schedule G
                                                                                            Murrells Retail Associates, LLC



    3.31     Frank Theatres Inlet Square, LLC                                                 Schedule D, line
             1003 W Indiantown Rd # 210                                                       Schedule E/F, line  4.30
             Jupiter, FL 33458
                                                                                              Schedule G
                                                                                            NEC Financial Services, LLC



    3.32     Frank Theatres Inlet Square, LLC                                                 Schedule D, line
             1003 W Indiantown Rd # 210                                                       Schedule E/F, line    4.43
             Jupiter, FL 33458
                                                                                              Schedule G
                                                                                            Surrey Bank & Trust



    3.33     Frank Theatres Inlet Square, LLC                                                 Schedule D, line
             1003 W Indiantown Rd # 210                                                       Schedule E/F, line    4.44
             Jupiter, FL 33458
                                                                                              Schedule G
                                                                                            Surrey Bank & Trust



    3.34     Frank Theatres Kingsport, LLC                                                    Schedule D, line
             1003 W Indiantown Rd # 210                                                       Schedule E/F, line    4.26
             Jupiter, FL 33458
                                                                                              Schedule G
                                                                                            Kingsport Mall, LLC




Official Form 106H                                                      Schedule H: Your Codebtors                                Page 5 of 8
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 Debtor 1 Bruce Steven Frank                                                           Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.35     Frank Theatres Management, LLC                                                   Schedule D, line
             c/o Shraiberg Landau & Page, P.A.                                                Schedule E/F, line    4.26
             2385 NW Executive Center Dr # 300
                                                                                              Schedule G
             Boca Raton, FL 33431
                                                                                            Kingsport Mall, LLC



    3.36     Frank Theatres Management, LLC                                                   Schedule D, line
             c/o Shraiberg Landau & Page, P.A.                                                Schedule E/F, line  4.49
             2385 NW Executive Center Dr # 300
                                                                                              Schedule G
             Boca Raton, FL 33431
                                                                                            Universal Film Exchanges LLC



    3.37     Frank Theatres Rio, LLC                                                           Schedule D, line
             1003 W Indiantown Rd # 210                                                        Schedule E/F, line   4.24
             Jupiter, FL 33458
                                                                                               Schedule G
                                                                                            Investors Bank



    3.38     Frank Theatres Teays Valley LLC                                                  Schedule D, line
             209 W Washington St                                                              Schedule E/F, line    4.33
             Charleston, WV 25302
                                                                                              Schedule G
                                                                                            No S Properties, LLC



    3.39     Frank Theatres Teays Valley LLC                                                  Schedule D, line
             209 W Washington St                                                              Schedule E/F, line    4.43
             Charleston, WV 25302
                                                                                              Schedule G
                                                                                            Surrey Bank & Trust



    3.40     Frank Theatres Victory, LLC                                                       Schedule D, line
             1003 W Indiantown Rd # 210                                                        Schedule E/F, line 4.9
             Jupiter, FL 33458
                                                                                              Schedule G
                                                                                            Brixmor Victory Square, LLC



    3.41     Frank Theatres Victory, LLC                                                      Schedule D, line
             1003 W Indiantown Rd # 210                                                       Schedule E/F, line  2.2
             Jupiter, FL 33458
                                                                                              Schedule G
                                                                                            Georgia Department of Revenue



    3.42     Joyce Frank                                                                      Schedule D, line
             392 Eagle Dr                                                                     Schedule E/F, line    2.3
             Jupiter, FL 33477-4066
                                                                                              Schedule G
                                                                                            State of New Jersey




Official Form 106H                                                      Schedule H: Your Codebtors                                Page 6 of 8
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 Debtor 1 Bruce Steven Frank                                                           Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.43     Joyce Frank                                                                      Schedule D, line   2.3
             392 Eagle Dr                                                                     Schedule E/F, line
             Jupiter, FL 33477-4066
                                                                                              Schedule G
                                                                                            Professional Bank



    3.44     Joyce Frank                                                                      Schedule D, line   2.2
             392 Eagle Dr                                                                     Schedule E/F, line
             Jupiter, FL 33477-4066
                                                                                              Schedule G
                                                                                            Larsen Capital, LLC



    3.45     Joyce Frank                                                                      Schedule D, line
             392 Eagle Dr                                                                     Schedule E/F, line    4.37
             Jupiter, FL 33477-4066
                                                                                              Schedule G
                                                                                            Professional Bank



    3.46     Joyce Frank                                                                      Schedule D, line   2.1
             392 Eagle Dr                                                                     Schedule E/F, line
             Jupiter, FL 33477-4066
                                                                                              Schedule G
                                                                                            Chrysler Financial/TD Auto



    3.47     Joyce Frank                                                                      Schedule D, line
             392 Eagle Dr                                                                     Schedule E/F, line  4.5
             Jupiter, FL 33477-4066
                                                                                              Schedule G
                                                                                            Bank of America, N.A.



    3.48     Joyce Frank                                                                      Schedule D, line
             392 Eagle Dr                                                                     Schedule E/F, line  4.7
             Jupiter, FL 33477-4066
                                                                                              Schedule G
                                                                                            Bank of America, N.A.



    3.49     Revolutions at Penn Treaty, LLC                                                  Schedule D, line
             1003 W Indiantown Rd # 210                                                       Schedule E/F, line   4.48
             Jupiter, FL 33458
                                                                                              Schedule G
                                                                                            United Bank of Philadelphia



    3.50     Revolutions at Penn Treaty, LLC                                                  Schedule D, line
             1003 W Indiantown Rd # 210                                                       Schedule E/F, line    4.34
             Jupiter, FL 33458
                                                                                              Schedule G
                                                                                            Oracle America, Inc.




Official Form 106H                                                      Schedule H: Your Codebtors                                Page 7 of 8
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 Debtor 1 Bruce Steven Frank                                                           Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.51     Rio Mall, LLC                                                                     Schedule D, line
             c/o Shraiberg Landau & Page, P.A.                                                 Schedule E/F, line   4.24
             2385 NW Executive Center Dr # 300
                                                                                               Schedule G
             Boca Raton, FL 33431
                                                                                            Investors Bank



    3.52     Rio Mall, LLC                                                                    Schedule D, line
             c/o Shraiberg Landau & Page, P.A.                                                Schedule E/F, line 4.29
             2385 NW Executive Center Dr # 300
                                                                                              Schedule G
             Boca Raton, FL 33431
                                                                                            National Commercial Builders, Inc.



    3.53     Superplay Development Group, LLC                                                 Schedule D, line   2.5
             1003 W Indiantown Rd # 210                                                       Schedule E/F, line
             Jupiter, FL 33458
                                                                                              Schedule G
                                                                                            The Bancorp Bank



    3.54     Tilton Shopping Center                                                           Schedule D, line
             1003 W Indiantown Rd # 210                                                       Schedule E/F, line 4.45
             Jupiter, FL 33458
                                                                                              Schedule G
                                                                                            Sysco Business Services




Official Form 106H                                                      Schedule H: Your Codebtors                                Page 8 of 8
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Fill in this information to identify your case:

Debtor 1                      Bruce Steven Frank

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF FLORIDA

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status*
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            Realtor                                    Self-Employed
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       The Sheehan Agency, LLC                    J Frank Consulting, LLC

       Occupation may include student        Employer's address
                                                                   500 University Blvd # 207                  183 Golf Village Blvd
       or homemaker, if it applies.
                                                                   Jupiter, FL 33458                          Jupiter, FL 33458

                                             How long employed there?         1/1/2018 - present                        5/16/2018 - present
                                                                              *See Attachment for Additional Employment Information

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1        For Debtor 2 or
                                                                                                                           non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $       15,000.00       $            0.00

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00      +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $     15,000.00             $      0.00




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
                             Case 19-15509-EPK                  Doc 1       Filed 04/26/19                 Page 82 of 98


Debtor 1    Bruce Steven Frank                                                                    Case number (if known)



                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $      15,000.00        $             0.00

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $              0.00     $               0.00
      5b.   Mandatory contributions for retirement plans                                   5b.        $              0.00     $               0.00
      5c.   Voluntary contributions for retirement plans                                   5c.        $              0.00     $               0.00
      5d.   Required repayments of retirement fund loans                                   5d.        $              0.00     $               0.00
      5e.   Insurance                                                                      5e.        $              0.00     $               0.00
      5f.   Domestic support obligations                                                   5f.        $              0.00     $               0.00
      5g.   Union dues                                                                     5g.        $              0.00     $               0.00
      5h.   Other deductions. Specify:                                                     5h.+       $              0.00 +   $               0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          15,000.00        $               0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $      10,000.00
      8b. Interest and dividends                                                           8b.        $              0.00     $           0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00     $               0.00
      8d. Unemployment compensation                                                        8d.        $              0.00     $               0.00
      8e. Social Security                                                                  8e.        $              0.00     $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.        $              0.00     $               0.00
      8g. Pension or retirement income                                                     8g.        $              0.00     $               0.00
                                               Loan proceeds from Larsen
      8h.   Other monthly income. Specify:     Capital, LLC                                8h.+ $            25,000.00 + $                    0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          25,000.00        $       10,000.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              40,000.00 + $       10,000.00 = $          50,000.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.   $          50,000.00
                                                                                                                                          Combined
                                                                                                                                          monthly income




Official Form 106I                                                     Schedule I: Your Income                                                         page 2
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Debtor 1   Bruce Steven Frank                                                        Case number (if known)

13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: J Frank Consulting, LLC is a consulting business whose income fluctuates. As such, the income
                         associated with this company is speculative.

                         The Debtor's income from The Sheehan Agency, LLC is also speculative and subject to fluctuation,
                         as it relates to Debtor's real estate commissions from the sale of real property.

                         Larsen Capital, LLC is funding the payment of Debtor's first mortgage in order to preserve its
                         collateral.

                         Debtor is attempting to find additional consulting work, and anticipates that his income will increase
                         in the future.




Official Form 106I                                         Schedule I: Your Income                                        page 3
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Debtor 1   Bruce Steven Frank                                                 Case number (if known)




                                                Official Form B 6I
                                Attachment for Additional Employment Information

Debtor
Occupation            Consultant
Name of Employer      J Frank Consulting, LLC
How long employed     7/1/2018 - present
Address of Employer   183 Golf Village Blvd
                      Jupiter, FL 33458




Official Form 106I                                  Schedule I: Your Income                            page 4
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Fill in this information to identify your case:

Debtor 1                 Bruce Steven Frank                                                                Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF FLORIDA                                               MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Son                                  18                   Yes
                                                                                                                                             No
                                                                                   Son                                  23                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                         23,937.24

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                               0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                           1,750.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           1,000.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             694.33
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                               0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     Bruce Steven Frank                                                                        Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                500.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                100.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                500.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             2,000.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               100.00
10.   Personal care products and services                                                    10. $                                                200.00
11.   Medical and dental expenses                                                            11. $                                                500.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 400.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  50.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                               7,000.00
      15b. Health insurance                                                                15b. $                                               1,500.00
      15c. Vehicle insurance                                                               15c. $                                                 500.00
      15d. Other insurance. Specify:                                                       15d. $                                                   0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: State of New Jersey                                                           16. $                                                  20.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                               2,070.02
      17b. Car payments for Vehicle 2                                                      17b. $                                                 628.56
      17c. Other. Specify:                                                                 17c. $                                                   0.00
      17d. Other. Specify:                                                                 17d. $                                                   0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                  750.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Pet expenses                                                        21. +$                                                100.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      44,300.15
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      44,300.15
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              50,000.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             44,300.15

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              5,699.85

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                    Bruce Steven Frank
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Bruce Steven Frank                                                    X
              Bruce Steven Frank                                                        Signature of Debtor 2
              Signature of Debtor 1

              Date       April 26, 2019                                                 Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Bruce Steven Frank
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                                Check if this is an
                                                                                                                                           amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                            Dates Debtor 2
                                                                 lived there                                                                   lived there
        392 Eagle Dr                                             From-To:                      Same as Debtor 1                                   Same as Debtor 1
        Jupiter, FL 33477-4066                                   1995 - 2016                                                                   From-To:



        349 Regatta Dr                                           From-To:                      Same as Debtor 1                                   Same as Debtor 1
        Jupiter, FL 33477                                        2016 - 2018                                                                   From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
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 Debtor 1      Bruce Steven Frank                                                                          Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income         Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.     (before deductions
                                                                                    exclusions)                                              and exclusions)

 From January 1 of current year until                 Wages, commissions,                         Unknown            Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips
                                                                                                                      Operating a business
                                                       Operating a business

 For last calendar year:                              Wages, commissions,                      $227,137.89           Wages, commissions,
 (January 1 to December 31, 2018 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                     Wages, commissions,                          Unknown            Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                      $225,529.44           Wages, commissions,
 (January 1 to December 31, 2017 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                     Wages, commissions,                   $12,438,250.00            Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                     Wages, commissions,                       $225,209.00           Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                  Debtor 1                                                         Debtor 2
                                                  Sources of income                 Gross income from              Sources of income         Gross income
                                                  Describe below.                   each source                    Describe below.           (before deductions
                                                                                    (before deductions and                                   and exclusions)
                                                                                    exclusions)
 From January 1 of current year until None                                                             $0.00
 the date you filed for bankruptcy:

 For last calendar year:                          None                                                 $0.00
 (January 1 to December 31, 2018 )

 For the calendar year before that:               Interest                                      $15,433.00
 (January 1 to December 31, 2017 )


                                                  Short-term capital                          $-896,627.00
                                                  loss



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 Debtor 1      Bruce Steven Frank                                                                          Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income              Gross income
                                                   Describe below.                  each source                    Describe below.                (before deductions
                                                                                    (before deductions and                                        and exclusions)
                                                                                    exclusions)
                                                   Long-term capital                          $-149,607.00
                                                   loss

                                                   Rental real estate                       $2,942,465.00

                                                   Net operating loss                     $-23,265,818.00
                                                   carryforward


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Professional Bank                                         Various dates                $96,247.04         $3,671,356.6          Mortgage
       396 Alhambra Cir # 255                                    within the last 90                                         3          Car
       Coral Gables, FL 33134                                    days
                                                                                                                                       Credit Card
                                                                                                                                       Loan Repayment
                                                                                                                                       Suppliers or vendors
                                                                                                                                       Other


       Chrysler Financial/TD Auto                                Various dates                  $8,280.08         $114,794.00          Mortgage
       Attn: Bankruptcy                                          within the last 90                                                    Car
       POB 9223                                                  days
                                                                                                                                       Credit Card
       Farmington Hills, MI 48333
                                                                                                                                       Loan Repayment
                                                                                                                                       Suppliers or vendors
                                                                                                                                       Other




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7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       Destiny USA Holdings, LLC v.                              Breach of                  Supreme Court of the State                 Pending
       Bruce S. Frank and Frank                                  Contract                   of New York                                On appeal
       Entertainment Companies, LLC                                                         401 Montgomery St
                                                                                                                                       Concluded
       003714/2018                                                                          Syracuse, NY 13202
                                                                                                                                    Statement for Judgment
                                                                                                                                    entered on 9/7/2018

       Kingsport Mall, LLC v. Frank                              Unlawful detainer          Sullivan County Circuit                    Pending
       Theatres Kingsport, LLC, Frank                            and damages                Court                                      On appeal
       Entertainment Group, LLC, Frank                                                      140 Blountville Bypass
                                                                                                                                       Concluded
       Theatres Management, LLC, Frank                                                      POB 585
       Entertainment Companies, LLC,                                                        Blountville, TN 37617
       and Bruce Frank
       16-VK-35514

       Murrells Retail Associates, LLC v.                        Breach of lease            Horry County Circuit Court                 Pending
       Frank Theatres Inlet Square, LLC,                         agreement                  1301 Second Ave                            On appeal
       Frank Entertainment Companies,                                                       Conway, SC 29526
                                                                                                                                       Concluded
       LLC, and Bruce S. Frank
       2017-CP-26-03055

       Investors Bank v. Rio Mall, LLC,                          Foreclosure                Cape May County Superior                   Pending
       Frank Theatres Rio, LLC, Frank                            Proceeding                 Court                                      On appeal
       Investments, Inc., Bruce S. Frank,                                                   7 N Main St
                                                                                                                                       Concluded
       et al                                                                                Cape May Court House, NJ
       SWC-F-006663-18                                                                      08210

       Investors Bank v. Rio Mall, LLC,                          Breach of                  Superior Court of the State                Pending
       Frank Investments, Inc., and Bruce                        Contract                   of NJ                                      On appeal
       S. Frank                                                                             25 Market St
                                                                                                                                       Concluded
       CPM-L-105-18                                                                         Trenton, NJ 08611

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       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       Bruce S. Frank v. Frank                                   Breach of                  Palm Beach County Circuit                  Pending
       Entertainment Group, LLC                                  Employment                 Court                                      On appeal
       50-2017-CA-012887-XXXX-MB-AG                              Agreements,                205 N Dixie Hwy
                                                                                                                                       Concluded
                                                                 Unpaid Wages,              West Palm Beach, FL 33401
                                                                 Quantum Meruit,
                                                                 and Unjust
                                                                 Enrichment

       NEC Financial Services, LLC v.                            Breach of Loan             Bergen County Superior                     Pending
       Frank Theatres Inlet Square, LLC,                         Documents                  Court                                      On appeal
       Frank Entertainment Companies,                                                       10 Main St
                                                                                                                                       Concluded
       LLC, Frank Management, LLC, and                                                      Hackensack, NJ 07601
       Bruce Frank
       BER-L-008138-17

       Brixmor Victory Square, LLC v.                            Breach of Lease            Chatham County Superior                    Pending
       Frank Theatres Victory, LLC, and                          Agreemennt                 Court                                      On appeal
       Bruce Frank                                                                          133 Montgomery St
                                                                                                                                       Concluded
       SPCV18-00003-FR                                                                      Savannah, GA 31401

       National Commercial Builders, Inc.                        Breach of                  American Arbitration                       Pending
       v. Rio Mall, LLC and Bruce Frank                          Contract                   Association                                On appeal
       01-18-0001-8825                                                                      1101 Laurel Oak Rd # 100
                                                                                                                                       Concluded
                                                                                            Voorhees, NJ 08043

       United Bank of Philadelphia v.                            Breach of                  Philadelphia County Court                  Pending
       Revolutions at Penn Treaty, LLC,                          Contract                   of Common                                  On appeal
       Frank Hospitality Penn Treaty,                                                       Pleas
                                                                                                                                       Concluded
       LLC, FEC Holdings, LLC, and                                                          1400 John F Kennedy Blvd
       Bruce S. Frank                                                                       Philadelphia, PA 19107
       181100869

       Centennial Bank v. Frank                                  Foreclose                  Palm Beach County Circuit                  Pending
       Investments, Inc., Bruce S. Frank,                        Mortgage,                  Court                                      On appeal
       et al                                                     Promissory Note, ,         205 N Dixie Hwy
                                                                                                                                       Concluded
       50-2018-CA-014535-XXXX-MB-AN                              Foreclose                  West Palm Beach, FL 33401
                                                                 Security Interest,
                                                                 and Recover
                                                                 Collateral

       Ajax Metal Building Master Tenant                         Breach of                  Philadelphia Municipal                     Pending
       LP v. Bruce Frank                                         Contract                   Court                                      On appeal
       LT-18-12-03-3158                                                                     1339 Chestnut St
                                                                                                                                       Concluded
                                                                                            10th Floor
                                                                                            Philadelphia, PA 19107
                                                                                                                                    Notice of Judgment entered
                                                                                                                                    on 1/14/2019

       No S Properties, LLC v. Bruce L.                          Breach of                  Putnam County Circuit                      Pending
       Frank and Frank Theatres Teays                            Contract, Unjust           Court                                      On appeal
       Valley, LLC                                               Enrighment,                3389 Winfield Rd
                                                                                                                                       Concluded
       19-C-4                                                    Ejectment,                 Winfield, WV 25213
                                                                 Distress, and
                                                                 Injunctive Relief




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       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       35 Oak US 5, Inc. v. Frank Theatres                       Contract &                 Broward County Circuit                      Pending
       Coral Springs, LLC, Frank                                 Indebtedness               Court                                       On appeal
       Theatres, LLC, and Bruce Frank                                                       201 SE 6 St
                                                                                                                                        Concluded
       18-023355 CACE 12                                                                    Fort Lauderdale, FL 33301
                                                                                                                                     Final Judgment After
                                                                                                                                     Default entered on
                                                                                                                                     12/6/2018.

       Bruce S. Frank v. Destiny USA                             Action                     Palm Beach County Circuit                   Pending
       Holdings, LLC                                             Challenging                Court                                       On appeal
       50-2019-CA-000406-XXXX-MB-AF                              Validity of Foreign        205 N Dixie Hwy
                                                                                                                                        Concluded
                                                                 Judgment                   West Palm Beach, FL 33401
                                                                                                                                     Notice of Voluntary
                                                                                                                                     Dismissal and Release of
                                                                                                                                     Lis Pendens filed on
                                                                                                                                     1/24/2019.

       Core Equity II, L.P. v. Revolutions                       Breach of                  Philadelphia Municipal                      Pending
       at Penn Treaty, LLC, Bruce FRank,                         Contract                   Court                                       On appeal
       Frank Entertainment Companies,                                                       First Judicial District of
                                                                                                                                        Concluded
       Inc., and Frank Hospitality Penn                                                     Pennsylvania
       Treaty, LLC                                                                          1339 Chestnut St
       LT-18-09-05-3225                                                                     10th Floor
                                                                                            Philadelphia, PA 19107

       Kingsport Mall, LLC v. Frank                              Breach of                  Sullivan County Circuit                     Pending
       Theatres Kingsport, LLC, Frank                            Contract                   Court                                       On appeal
       Entertainment Group, LLC, Frank                                                      140 Blountville Bypass
                                                                                                                                        Concluded
       Theatres Management, LLC, Frank                                                      POB 585
       Entertainment Companies, LLC,                                                        Blountville, TN 37617
       and Bruce Frank
       C41740(B)


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes




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 Debtor 1      Bruce Steven Frank                                                                          Case number (if known)



 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                                                                                  loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       A 123 Credit Counselors, Inc                                  pre-filing credit counseling course -                    2/1/2019                     $20.00
       701 NW 62 Ave # 160                                           $20.00
       Miami, FL 33126
       a123cc.org




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       Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
       Address                                                       transferred                                              or transfer was             payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Leiderman Shelomith Alexander +                               $33,243.00 - fee advance                                 12/13/2018 -            $35,000.00
       Somodevilla, PLLC                                             $1,717.00 - filing fee                                   $5,000.00 -
       2699 Stirling Rd # C401                                       $40.00 - credit report                                   paid by
       Fort Lauderdale, FL 33312                                                                                              Debtor
       lsaslaw.com                                                                                                            1/15/2019 -
                                                                                                                              $20,000.00 -
                                                                                                                              paid by Astor
                                                                                                                              Weiss Kaplan
                                                                                                                              & Mandel,
                                                                                                                              LLP trust
                                                                                                                              account
                                                                                                                              4/25/2019 -
                                                                                                                              $10,000.00 -
                                                                                                                              paid by Frank
                                                                                                                              Consulting
                                                                                                                              Services, LLC


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
       Address                                                       transferred                                              or transfer was             payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       Jack Schaffer                                                 2005 Jefferson Marlago boat                $59,500.00 - used to pay        6/2018
       Unknown                                                       - $59,500.00                               off a loan
       MI

       None

       Jaguar Land Rover Aston Martin                                Debtor made a $15,000.00                   The 2014 Bentley listed         5/19/2018
       Naples                                                        downpayment toward the                     on Schedule B.
       900 Tamiami Trail N                                           financing of the 2014 Bentley
       Naples, FL 34102                                              listed on Schedule B.

       None




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       Person Who Received Transfer                                  Description and value of                   Describe any property or     Date transfer was
       Address                                                       property transferred                       payments received or debts   made
                                                                                                                paid in exchange
       Person's relationship to you
       Joyce Frank                                                   $50,000.00 was transferred                 Household expenses           12/7/2018 and
       392 Eagle Dr                                                  ($25,000.00 on 12/7/2018 and               were paid.                   12/10/2018
       Jupiter, FL 33477-4066                                        $25,000.00 on 12/10/2018)
                                                                     from Debtor's joint bank
       Debtor's wife                                                 account with his wife
                                                                     (Professional Bank Acct #
                                                                     0361) to Debtor's wife's bank
                                                                     account (Professional Bank
                                                                     Acct # 4071) to pay
                                                                     household expenses.


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                       Date Transfer was
                                                                                                                                             made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of           Type of account or          Date account was          Last balance
       Address (Number, Street, City, State and ZIP              account number             instrument                  closed, sold,         before closing or
       Code)                                                                                                            moved, or                      transfer
                                                                                                                        transferred
       Ameritas Investment Corp.                                 XXXX-6421                    Checking                  6/30/2018                    $1,602.01
       5900 O St                                                                              Savings
       Lincoln, NE 68510                                                                      Money Market
                                                                                              Brokerage
                                                                                              Other Frank
                                                                                            Management LLC
                                                                                            401(k) Plan


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                            have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access            Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                    have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)




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       Name of Storage Facility                                      Who else has or had access                 Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                      have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

       Brandon Transfer & Storage                                    Bruce Steven Frank                         See the attached Personal           No
       2900 Tuxedo Ave                                               392 Eagle Dr                               Property Appraisal prepared         Yes
       West Palm Beach, FL 33405                                     Jupiter, FL 33477-4066                     by Martin Claire & Co. LLC


 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                        Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

       Joyce Frank                                                   183 Golf Village Blvd                      All personal property,                 Unknown
       392 Eagle Dr                                                  Jupiter, FL 33458                          furniture, and fixtures, other
       Jupiter, FL 33477-4066                                                                                   than those items listed on
                                                                                                                Schedule B, are owned by
                                                                                                                Debtor's wife.


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you     Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you     Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case               Status of the
       Case Number                                                   Name                                                                        case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)


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 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        See attached Bruce Frank - List of                                                                       EIN:
        Business Interests (Within 4 Years
        Prior                                                                                                    From-To
        to Petition Date)


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Bruce Steven Frank
 Bruce Steven Frank                                                      Signature of Debtor 2
 Signature of Debtor 1

 Date      April 26, 2019                                                Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 11
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